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 6   PEPPER INC.
 7
 8
 9                                    UNITED STATES DISTRICT COURT
10                               CENTRAL DISTRICT OF CALIFORNIA
11
12   SAMUAL RYCIAK,                                                5:22-cv-945
                                                         Case No. ________
13                       Plaintiff,                      DEFENDANTS’ NOTICE OF
                                                         REMOVAL OF CIVIL ACTION TO
14            v.                                         THE UNITED STATES DISTRICT
                                                         COURT
15   THE AMERICAN BOTTLING
     COMPANY, a Delaware corporation; DR                 [28 U.S.C. §§ 1332, 1441, AND 1446]
16   PEPPER/SEVEN UP, INC., a Delaware
     corporation; KEURIG DR. PEPPER INC.,                [Riverside County Superior Court
17   a Delaware corporation; and DOES 1-50,              Case No. CVRI2201797]
18                       Defendants.                     Complaint Filed:      May 4, 2022
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 1            TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
 2   DISTRICT OF CALIFORNIA AND TO PLAINTIFF, SAMUAL RYCIAK, AND
 3   HIS ATTORNEYS OF RECORD:
 4            PLEASE TAKE NOTICE that Defendants The American Bottling Company
 5   (“ABC”), Dr Pepper/Seven Up, Inc. (“DPSU”), and Keurig Dr Pepper Inc. (“KDP”)
 6   (collectively “Defendants”) file this Notice of Removal, pursuant to 28 U.S.C.
 7   §§ 1332(c), 1332(d)(2), 1441(a), 1446, and 1453, to effectuate the removal of the above-
 8   captioned action from the Superior Court for the County of Riverside to the United States
 9   District Court for the Central District of California.
10            This Court has original jurisdiction under 28 U.S.C. §§ 1332(c), (d)(2)—the Class
11   Action Fairness Act of 2005 (“CAFA”). Removal is proper for the following reasons:
12   I.       BACKGROUND
13            1.      On May 4, 2022, Plaintiff Samual Ryciak (“Plaintiff”) filed a class action
14   complaint in the Superior Court of California for the County of Riverside, entitled
15   “Samual Ryciak, an individual, on behalf of himself and all others similarly situated, v.
16   THE AMERICAN BOTTLING COMPANY, a Delaware corporation; DR
17   PEPPER/SEVEN UP, INC., a Delaware corporation; KEURIG DR PEPPER INC., a
18   Delaware corporation; and DOES 1 to 50,” Case No. CVRI2201797 (“Complaint”).
19            2.      On May 5 2022, Defendants’ registered agent for service of process in
20   California received, via process server and for each Defendant separately, the Summons;
21   Complaint; Civil Case Cover Sheet; ADR Information Package; and Notice of
22   Department Assignment. A true and correct copy of the packets received by Defendants
23   is attached hereto as Exhibit A. A true and correct copy of the Service of Process
24   Notification from CO Corporation System is attached hereto as Exhibit B.
25            3.      Defendants have not filed or received any other pleadings or papers, other
26   than the pleadings described as Exhibit A, in this action prior to this Notice of Removal.
27   II.      TIMELINESS OF REMOVAL
28            4.      The time for filing a Notice of Removal does not run until a party has been
                                                    1
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 1    formally served with the summons and complaint under the applicable state law “setting
 2    forth the claim for relief upon which such action or proceeding is based” or, if the case
 3    stated by the initial pleading is not removable, after receipt of any “other paper from
 4    which it may be first ascertained that the case is one which is or has become removable.”
 5    28 U.S.C. §§ 1446; Murphy Bros., Inc. v. Michetti Pipe Stringing, Inc., 526 U.S. 344,
 6    347-48 (1999) (holding that “a named defendant’s time to remove is triggered by
 7    simultaneous service of the summons and complaint”).
 8             5.      The service of process which triggers the 30-day period to remove is
 9    governed by state law. City of Clarksdale v. BellSouth Telecommunications, Inc., 428
10    F.3d 206, 210 (5th Cir. 2005) (“Although federal law requires the defendant to file a
11    removal motion within thirty days of service, the term ‘service of process’ is defined by
12    state law.”).
13             6.      This Notice of Removal is timely because it is filed within thirty (30) days
14    of service of the Complaint, by personal service on Defendants’ agent for service of
15    process, on May 5, 2022. (Ex. B.) Cal. Code Civ. Proc. § 415.10 (“A summons may be
16    served by personal delivery of a copy of the summons and of the complaint to the person
17    to be served. Service of a summons in this manner is deemed complete at the time of such
18    delivery.”); 28 U.S.C. § 1446(b). Thirty (30) days from the service of the Complaint on
19    Defendants on May 5, 2022 is Saturday, June 4, 2022. The next court day would be June
20    6, 2022.
21             7.      Defendants’ 30-day time limit to remove is triggered by Plaintiff’s service of
22    the Summons and the Complaint on May 5, 2022. See Murphy Bros., Inc. v. Michetti
23    Pipe Stringing, Inc., 526 U.S. 344, 347-48 (1999) (holding that “a named defendant’s
24    time to remove is triggered by simultaneous service of the summons and complaint”).
25    This Notice of Removal is timely because it is filed within thirty (30) days of personal
26    service of the Summons and Complaint on May 5, 2022. 28 U.S.C. § 1446(b); Cal. Civ.
27    Proc. Code § 415.10.
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 1             8.       Plaintiff asserts ten causes of action in his Complaint against Defendants:
 2    (1) Failure to Pay Minimum Wages; (2) Failure to Pay Overtime Wages; (3) Failure to
 3    Provide Rest Periods and Pay Rest Period Premiums; (4) Failure to Provide Meal Periods
 4    and Pay Meal Period Premiums; (5) Failure to Maintain Accurate Employment Records;
 5    (6) Failure to Timely Pay Wages During Employment; (7); Failure to Timely Pay Wages
 6    Upon Separation of Employment; (8) Failure to Reimburse Business Expenses; (9)
 7    Failure to Provide Accurate Wage Statements; (10) Violation of the Unfair Competition
 8    Law. (Ex. A, Complaint, ¶¶ 51-132.)
 9             9.      The Complaint seeks to certify a class of “[a]ll individuals who are or were
10    employed by Defendants as non-exempt employees in California during the Class
11    Period,” which is defined as “the period from four years prior to the filing of this action
12    and continuing into the present and ongoing.” (Ex. A, Complaint, ¶¶ 2-3.)
13             10.     Plaintiff’s Tenth Cause of Action is based on an alleged “Violation of
14    California’s Unfair Competition Law,” specifically the California Unfair Competition
15    Law (“UCL”). (Ex. A, Complaint, ¶¶ 113-117.) The statute of limitations on Plaintiff’s
16    Ninth Cause of Action for UCL is four years. (See Cal. Bus. & Prof. Code § 17208.)
17             11.     Accordingly, for purposes of the calculations in this Notice of Removal, the
18    “relevant time period” starting “four years preceding the filing of this Complaint” is from
19    May 4, 2018 until the present.
20    III.     CLASS ACTION FAIRNESS ACT (“CAFA”) REMOVAL
21             12.     This Court has original jurisdiction of this action under CAFA, codified in
22    pertinent part at 28 U.S.C. Section 1332(d)(2). As set forth below, this action is properly
23    removable, pursuant to 28 U.S.C. Section 1441(a), in that this Court has original
24    jurisdiction over the action, because the aggregate amount in controversy exceeds
25    $5,000,000, exclusive of interest and costs, and the action is a class action in which at
26    least one class member is a citizen of a state different from that of a defendant. 28 U.S.C.
27    §§ 1332(d)(2) & (d)(6). Furthermore, the number of putative class members is greater
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 1    than 100. 28 U.S.C. § 1332(d)(5)(B); Declaration of John Tynan in Support of
 2    Defendants’ Notice of Removal (“Tynan Decl.”), ¶ 8.
 3             A.      Plaintiff And Defendants Are Minimally Diverse
 4             13.     CAFA requires only minimal diversity for the purpose of establishing
 5    federal jurisdiction; that is, at least one purported class member must be a citizen of a
 6    state different from any named defendant. 28 U.S.C. § 1332(d)(2)(A). In the instant
 7    case, Plaintiff is a citizen of a state (California) that is different from the state of
 8    citizenship of Defendants (which are citizens of Delaware).
 9                     1.    Plaintiff Is A Citizen Of California
10             14.     For purposes of determining diversity, a person is a “citizen” of the state in
11    which he or she is domiciled. Kantor v. Wellesley Galleries, Inc., 704 F.2d 1088, 1090
12    (9th Cir. 1983) (“To show state citizenship for diversity purposes under federal common
13    law a party must … be domiciled in the state”). Residence is prima facie evidence of
14    domicile. State Farm Mut. Auto Ins. Co. v. Dyer, 19 F.3d 514, 520 (10th Cir. 1994) (“the
15    place of residence is prima facie the domicile”); see also Zavala v. Deutsche Bank Trust
16    Co. Americas, 2013 WL 3474760, at *3 (N.D. Cal. July 10, 2013) (where a plaintiff’s
17    complaint alleges he resides in California, “in the absence of evidence to the contrary,
18    [plaintiff] is a California citizen for diversity purposes”). Citizenship is determined by
19    the individual’s domicile at the time that the lawsuit is filed. Armstrong v. Church of
20    Scientology Int’l, 243 F.3d 546, 546 (9th Cir. 2000) (“For purposes of diversity
21    jurisdiction, an individual is a citizen of his or her state of domicile, which is determined
22    at the time the lawsuit is filed”) (citing Lew v. Moss, 797 F.2d 747, 750 (9th Cir. 1986)).
23             15.     Plaintiff alleges that he resides in the State of California. (Ex. A,
24    Complaint, ¶ 10) (“At all relevant times, Plaintiff, who is over the age of 18, was and
25    currently is a citizen of California residing in the State of California.”) In his
26    employment files, Plaintiff listed his home address as being in Riverside, California.
27    (Tynan Decl., ¶ 4.) Plaintiff’s intent to remain domiciled in California is further evident
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 1    from the fact that he brought his lawsuit against Defendants in Riverside County Superior
 2    Court. Accordingly, Plaintiff is a citizen of California.
 3                     2.    Defendants Are Not Citizens Of California
 4             16.     Defendants are not now, nor were at the time this action commenced,
 5    citizens of the State of California. Rather, they are and were citizens of Delaware,
 6    Massachusetts, and Texas. For diversity purposes, a “corporation is a citizen of (1) the
 7    state under whose laws it is organized or incorporated; and (2) the state of its ‘principal
 8    place of business.’” Davis v. HSBC Bank Nevada, N.A., 557 F.3d 1026, 1028 (9th Cir.
 9    2009) (citing 28 U.S.C. 1332(c)(1)); Castanon v. Int’l Paper Co., 2016 WL 589853, at *2
10    (C.D. Cal. February 11, 2016). Under the “nerve center” test, the principal place of
11    business is the state where the “officers direct, control, and coordinate” the corporation’s
12    activities and where the corporation maintains its headquarters:
13             We conclude that ‘principal place of business’ is best read as referring to the
14             place where a corporation’s officers direct, control, and coordinate the
15             corporation’s activities. It is the place that Courts of Appeals have called the
16             corporation’s ‘nerve center.’ And in practice it should normally be the
17             place where the corporation maintains its headquarters — provided
18             that the headquarters is the actual center of direction, control, and
19             coordination, i.e., the ‘nerve center.’
20    Hertz Corp. v. Friend, 559 U.S. 77, 92-93 (2010).
21             17.     Defendants are incorporated under the laws of the State of Delaware. (Tynan
22    Decl., ¶ 5.)
23             18.     KDP’s principal place of business and headquarters are in both Burlington,
24    Massachusetts and Frisco, Texas. (Tynan Decl., ¶ 6.) KDP’s high-level officers direct,
25    control, and coordinate corporate activities from these dual headquarters. (Id.)
26    Additionally, the majority of KDP’s executive and administrative functions are directed
27    from Massachusetts and Texas, including corporate finance, accounting, purchasing,
28    marketing, and information systems. (Id.) Accordingly, KDP was at the time this action
                                                     5
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 1    was commenced, and remains today, a citizen of the States of Delaware, Texas, and
 2    Massachusetts within the meaning of 28 U.S.C. section 1332(c)(1), and not a citizen of
 3    the State of California.
 4             19.     ABC and DSPU’s principal place of business and headquarters is in Frisco,
 5    Texas. (Tynan Decl., ¶ 7.) ABC and DSPU’s high-level officers direct, control, and
 6    coordinate corporate activities from Frisco, Texas. (Id.) Additionally, the majority of
 7    ABC and DSPU’s executive and administrative functions are directed from Texas,
 8    including corporate finance, accounting, purchasing, marketing, and information systems.
 9    (Id.) Accordingly, ABC and DSPU were at the time this action was commenced, and
10    remain today, citizens of the States of Delaware and Texas within the meaning of 28
11    U.S.C. section 1332(c)(1), and not citizens of the State of California.
12             20.     Doe Defendants. Pursuant to 28 U.S.C. § 1441(a), the residence of
13    fictitious and unknown defendants should be disregarded for purposes of establishing
14    removal jurisdiction under 28 U.S.C. § 1332. Fristoe v. Reynolds Metals Co., 615 F.2d
15    1209, 1213 (9th Cir. 1980) (unnamed defendants are not required to join in a removal
16    petition); see also Soliman v. Philip Morris, Inc., 311 F. 3d 966, 971 (9th Cir. 2002)
17    (“citizenship of fictitious defendants is disregarded for removal purposes and becomes
18    relevant only if and when the plaintiff seeks leave to substitute a named defendant”).
19    Indeed, the presence of “DOE” defendants in this case has no bearing on diversity of
20    citizenship for removal. Thus, the existence of “DOES 1-50” in the Complaint does not
21    deprive this Court of jurisdiction. Abrego v. Dow Chemical Co., 443 F.3d 676, 679-80
22    (9th Cir. 2006) (rule applied in CAFA removal).
23             B.      The Amount In Controversy Exceeds The Statutory Minimum
24             21.     CAFA requires that the amount in controversy exceed $5,000,000, exclusive
25    of interest and costs. 28 U.S.C. § 1332(d)(2). Under CAFA, the claims of the individual
26    members in a class action are aggregated to determine if the amount in controversy
27    exceeds the sum or value of $5,000,000. 28 U.S.C. § 1332(d)(6). In addition, Congress
28    intended for federal jurisdiction to be appropriate under CAFA “if the value of the matter
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 1    in litigation exceeds $5,000,000 either from the viewpoint of the plaintiff or the
 2    viewpoint of the defendant, and regardless of the type of relief sought (e.g., damages,
 3    injunctive relief, or declaratory relief).” Senate Judiciary Committee Report, S. Rep. No.
 4    109-14, at 42 (2005), reprinted in 2005 U.S.C.C.A.N. 3, 40. The Senate Judiciary
 5    Committee’s Report on the final version of CAFA also makes clear that any doubts
 6    regarding the maintenance of interstate class actions in state or federal court should be
 7    resolved in favor of federal jurisdiction. Id. at 42-43 (“if a federal court is uncertain
 8    about whether ‘all matters in controversy’ in a purposed class action ‘do not in the
 9    aggregate exceed the sum or value of $5,000,000, the court should err in favor of
10    exercising jurisdiction over the case . . . . Overall, new section 1332(d) is intended to
11    expand substantially federal court jurisdiction over class actions. Its provision should be
12    read broadly, with a strong preference that interstate class actions should be heard in a
13    federal court if properly removed by any defendant.”).
14             22.     Preponderance Of The Evidence Standard. Plaintiff’s Complaint does
15    not allege the amount in controversy for the class he purports to represent. Where a
16    complaint does not allege a specific amount in damages, the removing defendant bears
17    the burden of proving by a preponderance of the evidence that the amount in
18    controversy exceeds the statutory minimum. In Standard Fire Ins. Co. v. Knowles, 568
19    U.S. 588 (2013), the U.S. Supreme Court held that the proper burden of proof imposed
20    upon a defendant to establish the amount in controversy is the preponderance of the
21    evidence standard. Accord Rodriguez v. AT&T Mobility Servs. LLC, 728 F.3d 975, 977
22    (9th Cir. 2013) (“the proper burden of proof imposed upon a defendant to establish the
23    amount in controversy is the preponderance of the evidence standard”).
24             23.     In 2011, Congress amended the federal removal statute to specify that,
25    where the underlying state practice “permits recovery of damages in excess of the amount
26    demanded . . . removal of the action is proper on the basis of an amount in controversy
27    asserted . . . if the district court finds, by the preponderance of the evidence, that the
28    amount in controversy exceeds the amount specified in section 1332(a).” Pub.L. 112–63,
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 1    December 7, 2011, 125 Stat. 758, § 103(b)(3)(C) (codified at 28 U.S.C. § 1446(c)(2)
 2    (emphasis added)); accord Abrego, 443 F.3d 676, 683 (9th Cir. 2006) (“Where the
 3    complaint does not specify the amount of damages sought, the removing defendant must
 4    prove by a preponderance of the evidence that the amount in controversy requirement has
 5    been met”); Guglielmino v. McKee Foods Corp., 506 F.3d 696, 701 (9th Cir. 2007) (“the
 6    complaint fails to allege a sufficiently specific total amount in controversy … we
 7    therefore apply the preponderance of the evidence burden of proof to the removing
 8    defendant”). The defendant must show that it is “more likely than not” that the
 9    jurisdictional threshold is met. Sanchez v. Monumental Life Ins. Co., 102 F.3d 398, 404
10    (9th Cir. 1996) (“where a plaintiff's state court complaint does not specify a particular
11    amount of damages, the removing defendant bears the burden of establishing, by a
12    preponderance of the evidence, that the amount in controversy exceeds $50,000. Under
13    this burden, the defendant must provide evidence establishing that it is ‘more likely than
14    not’ that the amount in controversy exceeds that amount”); Schiller v. David’s Bridal,
15    Inc., 2010 WL 2793650, at *2 (E.D. Cal. July 14, 2010) (same).
16             24.     To satisfy this standard, the “defendants’ notice of removal need include
17    only a plausible allegation that the amount in controversy exceeds the jurisdictional
18    threshold.” Dart Cherokee Basin Operating Co., LLC v. Owens, 574 U.S. 81, 135 S.Ct.
19    547, 554 (2014); see also Arias v. Residence Inn by Marriott, 936 F.3d 920, 922 (9th Cir.
20    2019) (“Because some remnants of our former antiremoval presumption seem to
21    persist, we reaffirm three principles that apply in CAFA removal cases. First, a removing
22    defendant’s notice of removal ‘need not contain evidentiary submissions’ but only
23    plausible allegations of the jurisdictional elements”; “An assertion that the amount in
24    controversy exceeds the jurisdictional threshold is not defeated merely because it is
25    equally possible that damages might be ‘less than the requisite ... amount’”) (emphasis
26    added).
27             25.     The burden of establishing the jurisdictional threshold “is not daunting, as
28    courts recognize that under this standard, a removing defendant is not obligated to
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 1    research, state, and prove the plaintiff’s claims for damages.” Korn v. Polo Ralph Lauren
 2    Corp., 536 F. Supp. 2d 1199, 1204-05 (E.D. Cal. 2008) (internal quotations omitted); see
 3    also Valdez v. Allstate Ins. Co., 372 F.3d 1115, 1117 (9th Cir. 2004) (“the parties need
 4    not predict the trier of fact’s eventual award with one hundred percent accuracy”).
 5             26.     It is well-settled that “the court must accept as true plaintiff’s allegations as
 6    plead in the Complaint and assume that plaintiff will prove liability and recover the
 7    damages alleged.” Muniz v. Pilot Travel Ctrs. LLC, 2007 WL 1302504, *3 (E.D. Cal.
 8    May 1, 2007) (denying motion for remand of a class action for claims under the
 9    California Labor Code for missed meal and rest periods, unpaid wages and overtime,
10    inaccurate wage statements, and waiting-time penalties).
11             27.     As explained by the Ninth Circuit, “the amount-in-controversy inquiry in the
12    removal context is not confined to the face of the complaint.” Valdez v. Allstate Ins. Co.,
13    372 F.3d 1115, 1117 (9th Cir. 2004); see also Rodriguez v. AT&T Mobility Servs. LLC,
14    728 F.3d 975, 981 (9th Cir. 2013) (holding that the ordinary preponderance of the
15    evidence standard applies even if a complaint is artfully pled to avoid federal
16    jurisdiction); Guglielmino v. McKee Foods Corp., 506 F.3d 696, 702 (9th Cir. 2007)
17    (holding that even if a plaintiff affirmatively pled damages less than the jurisdictional
18    minimum and did not allege a sufficiently specific total amount in controversy, the
19    removing defendant is still only required to show by a preponderance of evidence that the
20    amount in controversy exceeds the jurisdictional threshold).
21             28.     The Court Should Assume A 100% Violation Rate Based On Plaintiff’s
22    Class-Wide Allegations. If a plaintiff asserts statutory violations, the court should
23    assume that the violation rate is 100% unless the plaintiff specifically alleges otherwise:
24             As these allegations reveal, plaintiff includes no fact-specific allegations that
25             would result in a putative class or violation rate that is discernibly smaller
26             than 100%, used by defendant in its calculations. Plaintiff is the “master of
27             [her] claim[s],” and if she wanted to avoid removal, she could have alleged
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 1             facts specific to her claims which would narrow the scope of the putative
 2             class or the damages sought. She did not.
 3    Muniz, 2007 WL 1302504, at *4 (citing Caterpillar, Inc. v. Williams, 482 U.S. 386, 392
 4    (1987); see also Wheatley v. MasterBrand Cabinets, 2019 WL 688209, at *5 (C.D. Cal.
 5    Feb. 19, 2019) (“Defendant and the Court must rely on assumptions regarding the rate of
 6    the alleged violations … Plaintiff does not allege that some putative class members were
 7    subject to distinct policies. The Court therefore finds the assumption that uniform …
 8    policies were applied to all putative class members reasonable”) (emphasis added);
 9    Soratorio v. Tesoro Ref. and Mktg. Co., LLC, 2017 WL 1520416, at *3 (C.D. Cal. Apr.
10    26, 2017) (“Plaintiff’s Complaint could be reasonably read to allege a 100% violation
11    rate. The Complaint notes that Defendants ‘did not provide’ Plaintiff and the other class
12    members ‘a thirty minute meal period for every five hours worked,’ and that this was
13    Defendant’s ‘common practice.’ It also alleges that Defendants had a practice of
14    ‘requiring employees to work for four hours and more without a rest period’ and that
15    Defendants had a ‘common practice’ of failing to provide required breaks.”); Arreola v.
16    The Finish Line, 2014 WL 6982571, *4 (N.D. Cal. Dec. 9, 2014) (“District courts in the
17    Ninth Circuit have permitted a defendant removing an action under CAFA to make
18    assumptions when calculating the amount in controversy—such as assuming a 100
19    percent violation rate, or assuming that each member of the class will have experienced
20    some type of violation—when those assumptions are reasonable in light of the allegations
21    in the complaint.”); Coleman v. Estes Express Lines, Inc., 730 F. Supp. 2d 1141, 1149
22    (C.D. Cal. 2010), aff'd sub nom. Coleman v. Estes Exp. Lines, Inc., 631 F.3d 1010 (9th
23    Cir. 2011) (“[C]ourts have assumed a 100% violation rate in calculating the amount in
24    controversy when the complaint does not allege a more precise calculation”).
25             29.     Numerous other District Courts have similarly concluded that alleging a
26    policy of noncompliance in a complaint justifies the assumption of a 100 percent
27    violation rate. See Franke v. Anderson Merchandisers LLC, 2017 WL 3224656, at *2
28    (C.D. Cal. July 28, 2017) (“Courts in this Circuit have generally found the amount in
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 1    controversy satisfied where a defendant assumes a 100% violation rate based on
 2    allegations of a ‘uniform’ illegal practice—or other similar language—and where the
 3    plaintiff offers no evidence rebutting this violation rate”); Torrez v. Freedom Mortg.,
 4    Corp., 2017 WL 2713400, at *3-5 (C.D. Cal. June 22, 2017) (where complaint alleged
 5    “FMC engaged in a pattern and practice of wage abuse against its hourly-paid or non-
 6    exempt employees within the state of California,” the complaint “can reasonably be
 7    interpreted to imply nearly 100% violation rates”); Franke v. Anderson Merchandisers
 8    LLC, 2017 WL 3224656, at *2 (C.D. Cal. July 28, 2017) (“Courts in this Circuit have
 9    generally found the amount in controversy satisfied where a defendant assumes a 100%
10    violation rate based on allegations of a ‘uniform’ illegal practice – or other similar
11    language – and where the plaintiff offers no evidence rebutting this violation rate”); Feao
12    v. UFP Riverside, LLC, 2017 WL 2836207, at *5 (C.D. Cal. June 26, 2017) (“Plaintiff’s
13    allegations contain no qualifying words such as ‘often’ or ‘sometimes’ to suggest less
14    than uniform violation that would preclude a 100 percent violation rate.”); Soratorio,
15    LLC, 2017 WL 1520416, at *3 (“Plaintiff’s Complaint could be reasonably read to allege
16    a 100% violation rate. The Complaint notes that Defendants ‘did not provide’ Plaintiff
17    and the other class members ‘a thirty minute meal period for every five hours worked,’
18    and that this was Defendants’ ‘common practice.’ It also alleges that Defendants had a
19    practice of ‘requiring employees to work for four hours and more without a rest period’
20    and that Defendants had a ‘common practice’ of failing to provide required breaks.”);
21    Ritenour v. Carrington Mortg. Servs. LLC, 228 F. Supp. 3d. 1025, 1030 (C.D. Cal. 2017)
22    (“Given the vague language of the Complaint and the broad definition of the class, it is
23    reasonable for Defendants to assume a 100% violation rate – especially since Plaintiffs
24    offer no alternative rate to challenge Defendant’s calculations.”); Jones v. Tween Brands,
25    Inc., 2014 WL 1607636, at *3 (C.D. Cal. Apr. 22, 2014) (using 100 percent violation rate
26    for waiting-time penalties since the complaint did not limit the number or frequency of
27    violations).
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 1             30.     The alleged amount in controversy in this class action, in the aggregate,
 2    exceeds $5,000,000. Plaintiff’s Complaint seeks to certify, and seeks relief on behalf of,
 3    “[a]ll individuals who are or were employed by Defendants as non-exempt employees in
 4    California during the Class Period,” which is defined as “the period from four years prior
 5    to the filing of this action and continuing into the present and ongoing.” (Ex. A,
 6    Complaint, ¶¶ 2-3.) Given that Plaintiff’s Complaint was filed on May 4, 2022, for
 7    purposes of the calculations in this Notice of Removal the “relevant time period” is from
 8    May 4, 2018 until the present.
 9             31.     During the relevant time period identified in the Complaint, ABC employed
10    approximately 4,998 non-exempt hourly employees in California, who worked a total of
11    approximately 411,297 workweeks. (Tynan Decl., ¶¶ 8, 10.) The average rate of pay for
12    non-exempt employees was approximately $20.46 per hour. (Tynan Decl., ¶ 9.)
13             32.     Plaintiff seeks to recover, on behalf of himself and the alleged class, unpaid
14    wages and penalties for Defendants’ alleged failure to pay minimum and overtime wages,
15    failure to provide meal and rest breaks, failure to pay all wages due during employment,
16    failure to pay all wages due upon resignation or termination of employment, failure to
17    provide accurate and complete itemized wage statements, unreimbursed business
18    expenses, failure to maintain accurate employment records, and unfair business practices.
19    (Ex. A, Complaint.) Plaintiff also seeks attorneys’ fees and costs. (Ex. A, Complaint,
20    Prayer for Relief.)
21             33.     As set forth below, the alleged amount in controversy implicated by the
22    class-wide allegations exceeds $5,000,000. All calculations supporting the amount in
23    controversy are based on the Complaint’s allegations, assuming, without any
24    admission of the truth of the facts alleged and assuming solely for purposes of this
25    Notice of Removal that liability is established.
26             34.     The calculations below show that the alleged amount in controversy exceeds
27    $5,000,000, when considering non-exempt employees, such as Plaintiff, and when
28    considering just a few of the causes of action alleged in the Complaint.
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 1                     1.    Meal and Rest Period Claims
 2             35.     Plaintiff seeks payments for alleged denial of or missed or interrupted meal
 3    periods and rest periods. (Ex. A, Complaint, ¶¶ 33-47.) Plaintiff’s Complaint alleges that
 4    “Class Members were often expected and required to continue working through rest
 5    periods to meet the expectations [of] Defendants and finish the workday.” (Ex. A,
 6    Complaint, ¶ 36) (emphasis added). Plaintiff claims that “the Class Members were not
 7    compensated with one hour’s worth of pay at their regular rate of compensation when
 8    they were not provided with a compliant rest period in accordance with Labor Code
 9    section 226.7 subdivision (c).” Id., ¶ 38.
10             36.     As for meal periods, Plaintiff’s Complaint alleges that “[a]s a result of
11    Defendants’ uniform meal period policies and practices, the Class Members were
12    often not permitted to take compliant first meal periods before the end of the fifth hour of
13    work.” (Ex. A, Complaint, ¶ 44) (emphasis added). Plaintiff claims that Defendants
14    “failed to pay the Class Members applicable meal period premiums for many workdays
15    that the employees did not receive a compliant meal period.” Id., ¶ 46.
16             37.     The statute of limitations for recovery for meal or rest period premium pay
17    under California Labor Code section 226.7 pay is three years. Murphy v. Kenneth Cole
18    Prods., Inc., 40 Cal. 4th 1094, 1099 (2007) (“[T]he remedy provided in Labor Code
19    section 226.7 constitutes a wage or premium pay and is governed by a three-year statute
20    of limitations.”). However, Plaintiff alleges a claim for meal and rest break premiums
21    pay as part of his unfair competition claim under Business and Professions Code section
22    17200, et seq. (Ex. A, Complaint, ¶ 114.) Although Defendants contend that meal and
23    rest break premium pay cannot be recovered under Business and Professions Code
24    section 17200 (Pineda v. Bank of America, N.A., 50 Cal. 4th 1389, 1401 (2010)),
25    according to the allegations of Plaintiff’s Complaint, the four-year statute of limitations
26    applies for purposes of removal. Cal. Bus. & Prof. Code § 17208. Thus, for determining
27    the amount in controversy, the four-year statute of limitations applies.
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 1             38.     Plaintiff is silent as to the amount of alleged meal periods or rest periods he
 2    claims to have been denied, thereby precluding precise estimates of the amount in
 3    controversy. Because Plaintiff alleges that Defendants often failed to provide the
 4    putative class with all meal periods and rest periods (Ex. A, Complaint, ¶¶ 36, 44), the
 5    Complaint arguably contemplates a 100% violation rate for the meal period and rest
 6    period claims. Accordingly, a 100% violation rate can properly be assumed for purposes
 7    of calculating the amount in controversy of Plaintiff’s meal and rest period claims. See
 8    Muniz, 2007 WL 1302504, at *4 (citing Caterpillar, Inc., 482 U.S. at 392 (finding a 100
 9    percent violation rate appropriate when “plaintiff includes no fact-specific allegations that
10    would result in a putative class or violation rate that is discernibly smaller than 100%”).
11             39.     While Defendants are entitled to assume a 100 percent violation rate (i.e.,
12    five missed meal periods and five missed rest periods per workweek) based on the
13    allegations in the Complaint, Defendants will conservatively assume that putative class
14    members were not provided one meal period and one rest period each workweek.
15    Where Plaintiff has alleged a policy and practice of meal and rest period violations, it is
16    reasonable to assume that there at least one meal period and one rest period violation
17    each week for every employee. Indeed, district courts have consistently upheld even
18    higher assumptions of meal period and rest period violations as plausible for purposes of
19    determining the amount in controversy. See, e.g., Wheatley, 2019 WL 688209, at *6
20    (C.D. Cal. Feb. 19, 2019) (finding an estimate of five meal period and three rest break
21    violations per week reasonable where Plaintiff alleged a “a policy and practice” of meal
22    and rest break violations); Bryant v. NCR Corp., 284 F. Supp. 3d 1147, 1151 (S.D. Cal.
23    2018) (“Defendant conservatively assumed the putative class members were not provided
24    … three of ten rest periods they were entitled to receive each work week, even though
25    assumption of a 100 percent violation rate may have been reasonable based on allegations
26    in the Complaint. The Court therefore finds Defendant's assumed violation rates
27    reasonable”); Agredano v. Sw. Water Co., 2017 WL 2985395, at *6 (C.D. Cal. May 30,
28    2017) (“Plaintiff further alleges that Defendants ‘routinely’ and ‘consistently’ failed to
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 1    provide him and the putative class members with the required 30–minute lunch break
 2    periods. Plaintiff does not limit the number of violations alleged in his Complaint, nor
 3    has he offered any evidence that he or other putative class members missed fewer than
 4    five legally required meal breaks per week. Thus, the Court finds that ‘Plaintiff's own
 5    complaint alleges universal violations of meal ... period laws’ such that Defendants' ‘use
 6    of a 100% violation rate [five missed meal periods] is proper.’”); Mejia v. DHL Express
 7    (USA), Inc., 2015 WL 2452755, at *4 (C.D. Cal. May 21, 2015) (finding an estimate of
 8    five missed rest periods a week reasonable where plaintiff alleged that defendant
 9    maintained “policies, practices and procedures that caused the purported violations. . .”);
10    Lopez v. Aerotek, Inc., 2015 WL 2342558, at *2 (C.D. Cal. May 14, 2015) (finding
11    defendant’s estimate of five meal period and five rest period violations was reasonable);
12    Coleman v. Estes Express Lines, Inc., 730 F. Supp. 2d 1141, 1150 (C.D. Cal. 2010)
13    (“Plaintiff included no limitation on the number of violations, and, taking his complaint
14    as true, Defendants could properly calculate the amount in controversy based on a 100%
15    violation rate,” i.e., 5 missed meal periods and five missed rest breaks per week). Accord
16    Arias, 936 F.3d at 926 (holding that “Marriott’s assumptions are plausible” where it
17    assumed “one missed rest break” as the “lowest assumed violation rate”).
18             40.     As stated above, during the relevant time period identified in the Complaint,
19    ABC employed approximately 4,998 non-exempt hourly employees in California, who
20    worked a total of approximately 411,297 workweeks. (Tynan Decl., ¶¶ 8, 10.) The
21    average hourly rate of pay for these individuals is approximately $20.46. (Tynan Decl.,
22    ¶ 9.)
23             41.     Although Defendants deny that Plaintiff (or any putative class member) is
24    entitled to any meal or rest period premium payments, assuming just one meal period
25    violation per week for each putative class member, the amount in controversy for the
26    meal period claim alone would be approximately $6,350,988.60 [(310,410 workweeks) ×
27    ($20.46 per hour) × (1 premium payment per week)]. Assuming just one rest period
28    violation per week for each putative class member, the amount in controversy for the
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 1    rest period claim alone would also be approximately $6,350,988.60 [(310,410
 2    workweeks) × ($20.46 per hour) × (1 premium payment per week)]. Accordingly, the
 3    amount in controversy on Plaintiff’s meal and rest period claims when assuming just one
 4    meal and rest period violation per week is approximately $12,701,977.20.
 5                     2.    Waiting Time Penalties
 6             42.     Plaintiff’s Complaint also alleges that Defendants failed to timely pay wages
 7    due, in violation of California Labor Code §§ 201-203. Plaintiff alleges that “[d]ue to
 8    Defendants’ faulty pay policies, those Class Members whose employment with
 9    Defendants concluded were not compensated for each and every hour worked at the
10    appropriate rate.” (Ex. A, Complaint, ¶ 51.) Plaintiff bases this claim, among other
11    things, on the failure to pay meal and rest period premiums. (Id., ¶ 51.)
12             43.     On these grounds, Plaintiff seeks “waiting time penalties” under California
13    Labor Code § 203. (Ex. A, Complaint, ¶ 103.) Under California Labor Code § 203, a
14    discharged employee is entitled to penalties of up to 30 days’ pay at his or her regular
15    pay. See Cal. Lab. Code § 203(a) (“If an employer willfully fails to pay … any wages of
16    an employee who is discharged or who quits, the wages of the employee shall continue as
17    a penalty from the due date thereof at the same rate until paid or until an action therefor is
18    commenced; but the wages shall not continue for more than 30 days”).
19             44.     The statute of limitations period for California Labor Code § 203 penalties
20    extends back only three years from the date of filing of the complaint, or May 4, 2019.
21    See Pineda v. Bank of Am., N.A., 50 Cal. 4th 1389, 1399 (2010) (“if an employer failed to
22    timely pay final wages to an employee who quit or was fired, the employee would have
23    had one year to sue for the section 203 penalties but, under Code of Civil Procedure
24    section 338, subdivision (a) (Stats.1935, ch. 581, § 1, p. 1673), three years to sue for the
25    unpaid final wages giving rise to the penalty”).
26             45.     It is also reasonable to assume that each employee waited over 30 days for
27    payment of any allegedly unpaid wages. See Tajonar v. Echosphere, LLC, 2015 WL
28    4064642, at *4-5 (S.D. Cal. July 2, 2015) (finding reasonable the defendant-employer’s
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 1    assumption that each employee was entitled to the maximum thirty-day penalty); Byrd v.
 2    Masonite Corp., 2016 WL 2593912, at *3 (C.D. Cal. May 5, 2016) (“[I]t is not
 3    unreasonable for [defendant] to assume that each employee would be entitled to the
 4    maximum wage penalty – thirty days – for waiting time violations”). See also Ex. A,
 5    Complaint, ¶ 102 (claiming that Defendants “have failed to pay those sums for thirty days
 6    thereafter as required by Labor Code sections 201 through 203.”)
 7             46.     During the relevant three-year time period for waiting time penalties, from
 8    May 4, 2019 to the present, there were a total of approximately 2,337 non-exempt hourly
 9    employees who were terminated from employment with ABC in California. (Tynan
10    Decl., ¶ 11.)
11             47.     Although Defendants dispute liability, a reasonable estimate of the amount
12    in controversy for waiting time penalties is $11,475,604.80 [$20.46/hour × 8 hours/day ×
13    30 days × 2,337 former hourly employees].
14                     3.    Wage Statement Penalties
15             48.     Plaintiff’s Complaint alleges that “Defendants issued and continues to issue
16    wage statements to its non-exempt employees including Plaintiff and the other Class
17    members that are inadequate under Labor Code Section 226, subdivision (a). (Ex. A,
18    Complaint, ¶ 110.) Based on this alleged violation, Plaintiff claims that “Plaintiff and the
19    other Class Members are each entitled to recover an initial penalty of $50, and
20    subsequent penalties of $100, up to an amount not exceeding an aggregate penalty of
21    $4,000 per Plaintiff and per each Class Member. (Id., ¶ 112) (emphasis added).
22             49.     Labor Code § 226(e) provides a minimum of $50 for the initial violation as
23    to each employee, and $100 for each further violation as to each employee, up to a
24    maximum penalty of $4,000 per employee. The statute of limitations for recovery of
25    penalties under Labor Code § 226 is one year. Caliber Bodyworks, Inc. v. Sup. Ct., 134
26    Cal. App. 4th 365, 376 (2005); Cal. Civ. Proc. Code § 340(a). Plaintiff filed his
27    Complaint on November 2, 2021. Therefore, the statutory period for a claim under
28    California Labor Code § 226 runs from November 2, 2020 to the present.
                                                     17
                    NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT COURT
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 1             50.     Most non-exempt employees are paid weekly. (Tynan Decl., ¶ 12.)
 2             51.     During the period of May 4, 2021, there were approximately 2,935 hourly,
 3    non-exempt employees who worked for Defendants, who worked approximately 109,568
 4    pay periods during this time period. (Tynan Decl., ¶ 12.) The amount in controversy for
 5    Plaintiff’s wage statement claim is $8,367,600. (Id.)
 6                     4.    Approximate Aggregate Amount In Controversy
 7             52.     Although Defendants deny Plaintiff’s allegations that he or the putative class
 8    are entitled to any relief for the above-mentioned claims, based on the forgoing
 9    calculations, the aggregate amount in controversy for the putative class for all asserted
10    claims, exclusive of attorneys’ fees, is approximately $32,545,182, calculated as follows:
11                     $6,350,988.60             Meal Period Claim (Assuming Just
12                                               1 Meal Period Violation Per Workweek)

13                     $6,350,988.60             Rest Period Claim (Assuming Just
                                                 1 Rest Period Violation Per Workweek)
14
15                     $11,475,604.80            Waiting Time Penalties

16                     $8,367,600                Wage Statement Penalties
17             53.     The figures above do not take into account Plaintiff’s claim for unpaid
18    minimum wages, unpaid overtime wages, unreimbursed business expenses, or attorneys’
19    fees and costs.
20                     5.    Attorneys’ Fees
21             54.     Plaintiff also seeks attorneys’ fees. (Ex. A, Complaint, Prayer for Relief.)
22    Requests for attorneys’ fees must also be taken into account in ascertaining the amount in
23    controversy. Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998) (claims
24    for statutory attorneys’ fees are to be included in amount in controversy, regardless of
25    whether award is discretionary or mandatory); Brady v. Mercedes-Benz USA, Inc., 243 F.
26    Supp. 2d 1004, 1010-11 (N.D. Cal. 2002) (“Where the law entitles the prevailing plaintiff
27    to recover reasonable attorney fees, a reasonable estimate of fees likely to be incurred to
28
                                                     18
                    NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT COURT
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 1    resolution is part of the benefit permissibly sought by the plaintiff and thus contributes to
 2    the amount in controversy”).
 3             55.     A reasonable estimate of fees likely to be recovered may be used in
 4    calculating the amount in controversy. Longmire v. HMS Host USA, Inc., 2012 WL
 5    5928485, at *9 (S.D. Cal. Nov. 26, 2012) (“[C]ourts may take into account reasonable
 6    estimates of attorneys’ fees likely to be incurred when analyzing disputes over the
 7    amount in controversy under CAFA.”) (citing Brady, 243 F. Supp. 2d at 1010-11);
 8    Muniz, 2007 WL 1302504 at *4 (attorneys’ fees appropriately included in determining
 9    amount in controversy).
10             56.     In a recent decision, the Ninth Circuit held that “a court must include future
11    attorneys’ fees recoverable by statute or contract when assessing whether the amount-in-
12    controversy requirement is met.” Fritsch v. Swift Transp. Co. of Arizona, LLC, 899 F.3d
13    785, 794 (9th Cir. 2018); see also Chavez v. JPMorgan Chase & Co., 888 F.3d 413, 414-
14    15 (9th Cir. 2018) (“[T]he amount in controversy is not limited to damages incurred prior
15    to removal—for example, it is not limited to wages a plaintiff-employee would have
16    earned before removal (as opposed to after removal). Rather, the amount in controversy
17    is determined by the complaint operative at the time of removal and encompasses all
18    relief a court may grant on that complaint if the plaintiff is victorious.”); Lucas v.
19    Michael Kors (USA), Inc., 2018 WL 2146403 (C.D. Cal. May 9, 2018) (holding that
20    “unaccrued post-removal attorneys’ fees can be factored into the amount in controversy”
21    for CAFA jurisdiction).
22             57.     Indeed, the Ninth Circuit again very recently explicitly confirmed that
23    “when a statute or contract provides for the recovery of attorneys’ fees, prospective
24    attorneys’ fees must be included in the assessment of the amount in controversy,”
25    including in the context of determining CAFA jurisdiction and as a “principle[] that
26    appl[ies] in CAFA removal cases.” Arias, 936 F.3d at 922.
27             58.     In the class action context, courts have found that 25 percent of the
28    aggregate amount in controversy is a benchmark for attorneys’ fees award under the
                                                     19
                    NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT COURT
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 1    “percentage of fund” calculation and courts may depart from this benchmark when
 2    warranted. See, e.g., Wheatley, 2019 WL 688209, at *6 (C.D. Cal. Feb. 19, 2019)
 3    (finding that an estimate of attorney’s fees of 25% reasonable); Ramos v. Schenker, Inc.,
 4    2018 WL 5779978, at *3 (C.D. Cal. Nov. 1, 2018) (“[T]the 25% benchmark provides a
 5    non-speculative guidepost for assessing jurisdiction.”); Campbell v. Vitran Exp., Inc., 471
 6    F. App’x 646, 649 (9th Cir. 2012) (attorneys’ fees appropriately included in determining
 7    amount in controversy under CAFA); Powers v. Eichen, 229 F.3d 1249, 1256-57 (9th
 8    Cir. 2000) (“We have also established twenty-five percent of the recovery as a
 9    ‘benchmark’ for attorneys’ fees calculations under the percentage-of-recovery
10    approach”); Wren v. RGIS Inventory Specialists, 2011 U.S. Dist. LEXIS 38667 at *78-84
11    (N.D. Cal. Apr. 1, 2011) (finding ample support for adjusting the 25% presumptive
12    benchmark upward and found that plaintiffs’ request for attorneys’ fees in the amount of
13    42% of the total settlement payment was appropriate and reasonable in the case); Cicero
14    v. DirecTV, Inc., 2010 U.S. Dist. LEXIS 86920 at *16-18 (C.D. Cal. July 27, 2010)
15    (finding attorneys’ fees in the amount of 30% of the total gross settlement amount to be
16    reasonable); see also In re Quintas Secs. Litig., 148 F. Supp. 2d 967, 973 (N.D. Cal.
17    2001) (noting that in the class action settlement context the benchmark for setting
18    attorneys’ fees is 25 percent of the common fund). Even under the conservative
19    benchmark of 25 percent of the total amount in controversy for Plaintiff’s claims,
20    attorneys’ fees alone would be upward of $8,136,295.50 in this case [$32,545,182
21    amount in controversy × 0.25].
22             59.     Although Defendants deny Plaintiff’s allegations that he or the putative class
23    are entitled to any relief, based on Plaintiff’s allegations and prayer for relief, and a
24    conservative estimate based on those allegations, the total amount in controversy is at
25    least $40,681,477.50, including attorneys’ fees. This total amount in controversy far
26    exceeds the $5,000,000 threshold set forth under 28 U.S.C. § 1332(d)(2) for removal
27    jurisdiction.
28
                                                     20
                    NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT COURT
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 1             60.     Accordingly, because diversity of citizenship exists, and the amount in
 2    controversy exceeds $5,000,000, this Court has original jurisdiction of this action
 3    pursuant to 28 U.S.C. section 1332(d)(2). This action is therefore a proper one for
 4    removal to this Court pursuant to 28 U.S.C. section 1441(a).
 5             61.     To the extent that Plaintiff has alleged any other claims for relief in the
 6    Complaint over which this Court would not have original jurisdiction under 28 U.S.C.
 7    section 1332(d), the Court has supplemental jurisdiction over any such claims pursuant to
 8    28 U.S.C. section 1367(a).
 9    IV.      VENUE
10             62.     Venue lies in the United States District Court for the Central District of
11    California, pursuant to 28 U.S.C. §§ 1391(a), 1441, and 84(a). This action originally was
12    brought in Riverside County Superior Court of the State of California, which is located
13    within the Central District of California. 28 U.S.C. § 84(a). Therefore, venue is proper
14    because it is the “district and division embracing the place where such action is pending.”
15    28 U.S.C. § 1441(a).
16             63.     A true and correct copy of this Notice of Removal will be promptly served
17    on Plaintiff and filed with the Clerk of the Riverside County Superior Court of the State
18    of California as required under 28 U.S.C. § 1446(d).
19    V.       NOTICE TO STATE COURT AND TO PLAINTIFF
20             64.     Defendants will give prompt notice of the filing of this Notice of Removal to
21    Plaintiff and to the Clerk of the Superior Court of the State of California in the County of
22    Riverside. The Notice of Removal is concurrently being served on all parties.
23    VI.      PRAYER FOR REMOVAL
24             65.     WHEREFORE, Defendants pray that this civil action be removed from
25    Superior Court of the State of California for the County of Riverside to the United States
26    District Court for the Central District of California.
27
28
                                                      21
                    NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT COURT
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 1
      DATED: June 6, 2022                                 Respectfully submitted,
 2
                                                          SEYFARTH SHAW LLP
 3
                                                          By: /s/ Daniel Whang
 4                                                           Daniel C. Whang
 5                                                            Attorneys for Defendants The
                                                              American Bottling Company; Dr
 6                                                            Pepper/Seven Up, Inc.; and Keurig Dr
                                                              Pepper Inc.
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                    NOTICE OF REMOVAL OF CIVIL ACTION TO THE UNITED STATES DISTRICT COURT
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                       EXHIBIT A
       Case 5:22-cv-00945-JGB-KK Document 1 Filed 06/06/22 Page 32 of 73 Page ID #:32
                      Electronically FILED by Superior Court of California, County of Riverside on 05/04/2022 03:59 PM
      Case Number CVRI2201797 0000020329761 - W. Samuel Hamrick Jr., Executive Officer/Clerk of the Court By Stephanie Anderson, Clerk
                                                                                                                             SUM-100

                                          SUMMONS                                                                             FOR COURT USE ONLY
                                                                                                                          (SOLO PARA USO DE LA CORTE)
                                 (CITACION JUDICIAL)
NOTICE TO DEFENDANT:
(AVISO AL DEMANDADO):
THE AMERICAN BOTTLING COMPANY, a Delaware corporation; DR PEPPER/SEVEN UP, INC.,
a Delaware corporation; KEURIG DR PEPPER INC., a Delaware corporation; and DOES 1 TO 50,
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
SAMUAL RYCIAK, an individual, on behalf of himself and all others similarly situated,

 NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
 below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
 served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
 case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
 Online Self-Help Center (www.courtinfo.ca.gov/selthelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
 court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referral service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
 these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifomia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.goviselfhelp), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
,AVISO! Lo han demandado. Si no responde dentro de 30 dias, la code puede decidir en su contra sin escuchar su versi6n. Lea la informacion a
continuacion.
    Tiene 30 DIAS DE CALENDARIO despues de que le entreguen esta citaci6n y papeles legales para presentar una respuesta por escrito en esta
code y hacer que se entregue una copia al demandante. Una carta o una Ilamada telef6nica no lo protegen. Su respuesta por escrito tiene que estar
en formato legal correcto si desea que procesen su caso en la code. Es posible que haya un formulario que usted pueda usar para su respuesta.
Puede encontrar estos formularios de la code y mas informacion en el Centro de Ayuda de las Codes de California (www.sucorte.ca.gov), en la
biblioteca de leyes de su condado o en la code que le quede mas cerca. Si no puede pagar la cuota de presentacion, pida al secretario de la code que
le d6 un formulario de exencion de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso por incumplimiento y la code le podra
guitar su sueldo, dinero y bienes sin mas advedencia.
   Hay otros requisitos legales. Es recomendable que !lame a un abogado inmediatamente. Si no conoce a un abogado, puede Ilamar a un servicio de
remision a abogados. Si no puede pagar a un abogado, es posible que cumpla con los requisitos para obtener servicios legates gratuitos de un
programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de lucro en el sitio web de California Legal Services,
(www.lawhelpcalifomia.org), en el Centro de Ayuda de las Codes de California, (www.sucorte.ca.gov) o poniendose en contacto con la code o el
colegio de abogados locales. AVISO: Por ley, la code tiene derecho a reclamar las cuotas y los costos exentos por imponer un gravamen sobre
cualquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesiOn de arbitraje en un caso de derecho civil. gene que
pagar el gravamen de la code antes de que la code pueda desechar el caso.
The name and address of the court is: Riverside County Superior Court                                    CASE NUMBER: (Alumna del Caso):
(El nombre y direccion de la code es): Riverside Historic Courthouse
4050 Main Street
                                                                                                                "Ne' FRI 22 01 7 9 7
Riverside CA 92501
The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, is: (El nombre, la direccion y el n0mero
de telefono del abogado del demandante, o del demandante que no tiene abogado, es):
Jonathan Melmed, 1801 Century Park East, Suite 850, Los Angeles, CA 90067; (310) 824-3828; (310) 862-6851
DATE: May 4, 2022                                                            Clerk, by                                                              , Deputy
(Fecha)                                                                      (Secretario)                                                           (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
(Para prueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010)).
                                     NOTICE TO THE PERSON SERVED: You are served
 [SEAL)
                     RroAo.
                   .. .              1.          as an individual defendant.
                                     2.          as the person sued under the fictitious name of (specify):

                                     3.          on behalf of (specify):                                    D                eA
                                                                                                                              w -^s".,14
                                                                                                                                       / " , (A
                                            nder:         CCP 416.10 (corporation)                          =      CCP 416.60 (minor)
                            so                                                                                     CCP 416.70 (conservateerP°
                                                      I CCP 416.20 (defunct corporation)                   I- 7
                                                  ni    CCP 416.40 (association or partnership)                    CCP 416.90 (authorized person)
                                                  n     other (specify):
 GC68150(u)                          4.          by personal delivery on (date):
                                                                                                                                                        Page 1 of 1
Form Adopted for Mandatory Use                                                                                                Code of Civil Procedure §§ 412.20, 465
Judicial Council of California
                                                                      SUMMONS
                                                                                                                                                  www.courts.ca.gov
SUM-100 [Rev. July 1, 2009]
       Case 5:22-cv-00945-JGB-KK Document 1 Filed 06/06/22 Page 33 of 73 Page ID #:33
                                                                                  CM-010
 ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):                                                            FOR COURT USE ONLY
 MELMED LAW GROUP P.C.
 Jonathan Melmed (SBN 290218); Laura Supanich (SBN 314805)
 1801 Century Park East, Suite 850, Los Angeles, CA 90067
             TELEPHONE NO.:   (310) 824-3828                     FAX NO. (Optional):   (310) 862-6851
      ATTORNEY FOR (Name): Plaintiff Samual     Ryciak
SUPERIOR COURT OF CALIFORNIA, COUNTY OF                      Riverside
  STREET ADDRESS:      4050 Main Street                        Electronically FILED by Superior Court of Califomia, County of Riverside on 05104/2022 03:59 PM
                                               Case Number CVRI2201797 0000020329763 - W. Samuel Hamrick J ., Executive 0fficeriClerk of the Court By Stephanie Anderson, CIs
 MAILING ADDRESS:      4050 Main Street
CITY AND ZIP CODE:     Riverside, CA 92501
      BRANCH NAME:
                       Riverside Historic Courthouse
 CASE NAME:
                      Samual Ryciak v. The American Bottling Company, et al.

           CIVIL CASE COVER SHEET                                    Complex Case Designation                        CASE NUMBER:

El         Unlimited               ni     Limited               ni      Counter             n      Joinder                               I 2201                    707
           (Amount                        (Amount
                                                         Filed with first appearance by defendant JUDGE:
           demanded                       demanded is
                                                             (Cal. Rules of Court, rule 3.402)
           exceeds $25,000)               $25,000)                                                 DEPT.:

                                           Items 1-6 below must be completed (see instructions on page 2).
 1. Check one box below for the case type that best describes this case:
      Auto Tort                                               Contract                                          Provisionally Complex Civil Litigation
      ni    A• uto (22)                                       1- 1 B• reach of contract/warranty (06)           (Cal. Rules of Court, rules 3.400-3.403)
      ▪     U• ninsured motorist (46)                         ni   Rule 3.740 collections (09)                         Antitrust/Trade regulation (03)
      Other PI/PD/WD (Personal Injury/Property                n7 O• ther collections (09)                       F - 1 Construction defect (10)
      Damage/Wrongful Death) Tort                                                                                      Mass tort (40)
                                                              I— I Insurance coverage (18)
      r- 7     A• sbestos (04)
                                                       I— I Other contract (37)
                                                                                                                        Securities litigation (28)
               Product liability (24)                                                                                 Environmental/Toxic tort (30)
                                                        Real Property
      F - 1 Medical malpractice (45)                                                                                  Insurance coverage claims arising from the
                                                       1- 1 Eminent domain/Inverse
                                                                                                                      above listed provisionally complex case
      Ei O• ther PI/PD/WD (23)                                condemnation (14)
                                                                                                                      types (41)
      Non-PI/PD/WD (Other) Tort                        I- I W• rongful eviction (33)                            Enforcement of Judgment
            Business tort/unfair business practice 07) I— I O• ther real property (26)                                Enforcement of judgment (20)
            Civil rights (08)                           Unlawful Detainer
                                                                                                                Miscellaneous Civil Complaint
      n7 Defamation (13)                               E7     C• ommercial (31)
                                                                                                                I-   1 RICO (27)
               Fraud (16)                                    i1     R• esidential (32)
                                                                                                                1- 1 Other complaint (not specified above) (42)
      •        Intellectual property (19)                           Drugs (38)
                                                                                                                Miscellaneous Civil Petition
      1-     1 Professional negligence (25)                   Judicial Review
                                                                                                                I-   1 P• artnership and corporate governance (21)
           O• ther non-PI/PD/WD tort (35)                             A• sset forfeiture (05)
      Employmentt                                             I- I    P• etition re: arbitration award (11)             O• ther petition (not specified above) (43)

      El   Wrongful termination (36)                          F -7    W• rit of mandate (02)
                   employment (15)                            I— I Other judicial review (39)
2. This case I— I is        n      is not   complex under rule 3.400 of the California Rules of Court. If the case is complex, mark the
   factors requiring exceptional judicial management:
   a. =I Large number of separately represented parties           d. 1- 7 Large number of witnesses
   b. 1- 7 Extensive motion practice raising difficult or novel e. 0        Coordination with related actions pending in one or more
             issues that will be time-consuming to resolve                  courts in other counties, states, or countries, or in a federal
   c. ED Substantial amount of documentary evidence                         court
                                                                  f. ni Substantial postjudgment judicial supervision
3. Remedies sought (check all that apply): a. r7 monetary b. r7 nonmonetary; declaratory or injunctive relief c. I— I punitive
4. Number of causes of action (specify): 10
5. This case I—I is                is not   a class action suit.
6. If there are any known related cases, file and serve a notice of related case. (You may use form CM-015.)
Date:         May 4, 2022
                            Jonathan Melmed
                              (TYPE OR PRINT NAME)                                                                     (SIGNATURE OF PARTY OR ATTORNEY FOR PARTY)
                                                                         NOTICE
  •   Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
      under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
      in sanctions.
 •    File this cover sheet in addition to any cover sheet required by local court rule.
 •    If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
      other parties to the action or proceeding.
  •   Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
                                                                                                                                                                       Page 1 of 2
Form Adopted for Mandatory Use                                                                                            Cal. Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3.740;
Judicial Council of California                                  CIVIL CASE COVER SHEET                                            Cal. Standards of Judicial Administration, std. 3.10
CM-010 [Rev. July 1, 2007]                                                                                                                                         www.couits.ca.gov
      Case 5:22-cv-00945-JGB-KK Document 1 Filed 06/06/22 Page 34 of 73 Page ID #:34

                             INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                            CM-010
To Plaintiffs and Others Filing First Papers. If you are filing a first paper (for example, a complaint) in a civil case, you must
complete and file, along with your first paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one. If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in completing the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel, or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees, arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages, (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading. A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintiffs designation, a counter-designation that the case is not complex, or, if the plaintiff has made no designation, a designation that
the case is complex.                                     CASE TYPES AND EXAMPLES
 Auto Tort                                     Contract                                           Provisionally Complex Civil Litigation (Cal.
   Auto (22)-Personal Injury/Property             Breach of CContract/Warranty
                                                                  t tNVarranty (06)               Rules of Court Rules 3.400-3.403)
          Damage/Wrongful Death                       Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
      Uninsured Motorist (46) (if the                      Contract         unlawful detainer          Construction Defect (10)
       case involves an uninsured                              or wrongful eviction)                   Claims Involving Mass Tort (40)
       motorist claim subject to                      Contract/Warranty Breach—Seller                  Securities Litigation (28)
       arbitration, check this item                        Plaintiff (not fraud or negligence)         Environmental/Toxic Tort (30)
       instead of Auto)                               Negligent Breach of Contract/                    Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                          Warranty                                          (arising from provisionally complex
 Property Damage/Wrongful Death)                      Other Breach of Contract/Warranty                      case type listed above) (41)
 Tort                                             Collections (e.g., money owed, open             Enforcement of Judgment
     Asbestos (04)                                    book accounts) (09)                            Enforcement of Judgment (20)
        Asbestos Property Damage     •                Collection Case—Seller Plaintiff                  Abstract of Judgment (Out of
        Asbestos Personal Injury/                     Other Promissory Note/Collections                       County)
              Wrongful Death                               Case                                     Confession of Judgment (non-
     Product Liability (not asbestos or           Insurance Coverage (not provisionally                  domestic relations)
         toxic/environmental) (24)                    complex) (18)                                 Sister State Judgment
     Medical Malpractice (45)                         Auto Subrogation                              Administrative Agency Award
          Medical Malpractice—                        Other Coverage                                    (not unpaid taxes)
               Physicians & Surgeons              Other Contract
                                                             t t (37)                                Petition/Certification of Entry of
     Other Professional Health Care                   Contractual Fraud                                  Judgment on Unpaid Taxes
             Malpractice                              Other Contract Dispute                         Other Enforcement of Judgment
     Other PI/PD/WD (23)                       Real Property                                               Case
          Premises Liability (e.g., slip          Eminent Domain/Inverse                          Miscellaneous Civil Complaint
               and fall)                              Condemnation (14)                              RICO (27)
          Intentional Bodily Injury/PD/WD         Wrongful Eviction (33)                             Other Complaint (not specified
                (e.g., assault, vandalism)        Other Real Property (e.g., quiet title) ((26)           above) (42)
          Intentional Infliction of                   Writ of Possession of Real Property                 Declaratory Relief Only
               Emotional Distress                     Mortgage Foreclosure                                Injunctive Relief Only (non-
          Negligent Infliction of                     Quiet Title                                              harassment)
                Emotional Distress                    Other Real Property (not eminent                    Mechanics Lien
          Other PI/PD/WD                              domain, landlord/tenant, or                         Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort                            foreclosure)                                             Case (non-tort/non-complex)
     Business Tort/Unfair Business             Unlawful Detainer                                          Other Civil Complaint
         Practice (07)                            Commercialial (31)                                           (non-tort/non-complex)
     Civil Rights (e.g., discrimination,          Residential (32)                                Miscellaneous Civil Petition
           false arrest) (not civil               Drugs (38) (if the case involves illegal           Partnership and Corporate
           harassment) (08)                       drugs, check this item; otherwise,                     Govemance (21)
     Defamation (e.g., slander, libel)            report as Commercial or Residential)               Other Petition (not specified
            (13)                               Judicial Review                                           above) (43)
     Fraud (16)                                   Asset Forfeiture (05)                                  Civil Harassment
     Intellectual Property (19)                   Petition Re: Arbitration Award (11)                    Workplace Violence
     Professional Negligence (25)                 Writ of Mandate (02)                                   Elder/Dependent Adult
         Legal Malpractice                            Writ—Administrative Mandamus                            Abuse
         Other Professional Malpractice               Writ—Mandamus on Limited Court                     Election Contest
              (not medical or legal)                      Case Matter                                    Petition for Name Change
     Other Non-PUPD/VVD Tort (35)                     Writ—Other Limited Court Case                      Petition for Relief From Late
 Employment                                              Review                                               Claim
     Wrongful Termination (36)                    Other Judicial Review (39)                             Other Civil Petition
     Other Employment (15)                            Review of Health Officer Order
                                                      Notice of Appeal—Labor
                                                           Commissioner Appeals
CM-010 [Rev. July 1, 2007]                                                                                                               Page 2 of 2
                                                       CIVIL CASE COVER SHEET
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                 Electronically FILED by Superior Court of California, County of Riverside on 05/04/2022 03:59 PM
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12
                                            FOR THE COUNTY OF RIVERSIDE
13

14    SAMUAL RYCIAK, an individual, on behalf of                        Case Number:                 FZI 22 01 7 9 7
      himself and all others similarly situated,
15                                                                      CLASS ACTION COMPLAINT FOR:
16             Plaintiff,
                                                                       1.      Failure to Pay All Minimum Wages,
17                                                                     2.      Failure to Pay All Overtime Wages,
               v.
                                                                       3.      Failure to Provide Rest Periods and Pay
18                                                                             Missed Rest Period Premiums,
      THE AMERICAN BOTTLING COMPANY, a                                  4.     Failure to Provide Meal Periods and Pay
19    Delaware corporation; DR PEPPER/SEVEN UP,                                Missed Meal Period Premiums,
      INC., a Delaware corporation; KEURIG DR                          5.      Failure to Maintain Accurate Employment
20                                                                             Records,
      PEPPER INC., a Delaware corporation; and                         6.      Failure to Pay Wages Timely during
21
      DOES 1 TO 50,                                                            Employment,
22                                                                      7.     Failure to Pay All Wages Earned and
               Defendants.                                                     Unpaid at Separation,
23                                                                     8.      Failure to Indemnify All Necessary
                                                                               Business Expenditures,
24
                                                                        9.     Failure to Furnish Accurate Itemized Wage
25                                                                             Statements, and
                                                                       10.     Violations of California's Unfair
26                                                                             Competition Law (Bus. & Prof. Code, §§
                                                                               17200-17210).
27
                                                                        Demand for Jury Trial
28

                                                                1
                                                     CLASS ACTION COMPLAINT
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 1          Plaintiff Samual Ryciak ("Plaintiff'), on behalf of himself and all other similarly situated

 2   employees within the State of California, complains and alleges of defendants The American Bottling

 3   Company, Dr Pepper/Seven Up, Inc., Keurig Dr Pepper Inc., and Does 1 to 50 (collectively,

 4   "Defendants"), and each of them, as follows:

 5   I.     INTRODUCTION

 6          1.      This is a class action complaint brought pursuant to California Code of Civil Procedure

 7   section 382.

 8          2.      The "Class Period" as used herein, is defined as the period from four years prior to the

 9   filing of this action and continuing into the present and ongoing. Defendants' violations of California's

10   laws as described more fully below have been ongoing throughout the Class Period and are still

11   ongoing.

12          3.      Plaintiff brings this class action on behalf of himself and the following class: All

13   individuals who are or were employed by Defendants as non-exempt employees in California during

14   the Class Period (the "Class Members"). (Code Civ. Proc., § 382.)

15          4.      Plaintiff brings this action on behalf of himself and the Class Members, as a class action,

16   against Defendants for:

17                  A.      Failure to pay all minimum wages,

18                  B.      Failure to pay all overtime wages,

19                  C.      Failure to provide rest periods and pay missed rest period premiums,

20                  D.      Failure to provide meal periods and pay missed meal period premiums,

21                  E.      Failure to maintain accurate employment records,

22                  F.      Failure to pay wages timely during employment,

23                  G.      Failure to pay all wages earned and unpaid at separation,

24                  H.      Failure to indemnify all necessary business expenditures,

25                  I.      Failure to furnish accurate itemized wage statements, and

26                  J.     Violations of California's Unfair Competition Law ("UCL") (Bus. & Prof.

27          Code, §§ 17200-17210).

28   ///

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                                           CLASS ACTION COMPLAINT
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 1           5.      Plaintiff is informed and believes and thereon alleges that the California Industrial

 2   Welfare Commission ("IWC") Wage Orders applicable to the facts of this case are IWC Wage Orders

 3   1-2001, 7-2001, and/or 17-2001 (the "Applicable Wage Orders") and possibly others that may be

 4   applicable. (Cal. Code of Regs., tit. 8, §§ 11010, 11070, 11170.) Plaintiff reserves the right to amend

 5   or modify the definition of "Applicable Wage Orders" with greater specificity or add additional IWC

 6   Wage Orders if additional applicable wage orders are discovered in litigation.

 7   II.     JURISDICTION & VENUE

 8           6.      This Court has subject matter jurisdiction over all causes of action asserted herein

 9   pursuant to Article VI, section 10, of the California Constitution and Code of Civil Procedure section

10   410.10 because this is a civil action in which the matter in controversy, exclusive of interest, exceeds

11   $25,000, and because each cause of action asserted arises under the laws of the State of California or

12   is subject to adjudication in the courts of the State of California.

13           7.      This Court has personal jurisdiction over Defendants because Defendants have caused

14   injuries in the County of Riverside and the State of California through their acts, and by their violation

15   of the California Labor Code and California state common law. Defendants transact millions of dollars

16   of business within the State of California. Defendants own, maintain offices, transact business, have

17   an agent or agents within the County of Riverside, and/or otherwise are found within the County of

18   Riverside, and Defendants are within the jurisdiction of this Court for purposes of service of process.

19          8.      Venue as to Defendants is proper in this judicial district, pursuant to section 395 of the

20   Code of Civil Procedure. Defendants operate within California and do business within Riverside

21   County, California. The unlawful acts alleged herein have a direct effect on Plaintiff and all of

22   Defendants' employees identified above within Riverside County and surrounding counties where

23   Defendants may remotely operate.

24          9.      This matter is not appropriate for removal under the Class Action Fairness Act (28

25   U.S.C. § 1332) as the amount in controversy for Plaintiff's and the Class Members' claims, in

26   aggregate, is less than $5 million. Additionally, all the allegations herein occurred in the State of

27   California. As such, even if the amount in controversy did exceed $5 million this matter would still

28   not be appropriate for removal under the "local controversy" exception to the Class Action Fairness

                                                       3
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 1   Act. (28 U.S.C. § 1332, subd. (d)(4)(A).)

 2   III.    THE PARTIES

 3           A.     PLAINTIFF

 4           10.    At all relevant times, Plaintiff, who is over the age of 18, was and currently is a citizen

 5   of California residing in the State of California. Defendants employed Plaintiff as a non-exempt hourly

 6   employee in the County of Riverside.

 7           11.    Plaintiff brings this action on behalf of himself and the following class pursuant to

 8   section 382 of the Code of Civil Procedure as follows: All individuals who are or were employed by

 9   Defendants as non-exempt employees in California during the Class Period (the "Class Members").

10          12.     The Class Members, at all times pertinent hereto, are or were employees of Defendants

11   during the relevant statutory period.

12          B.      DEFENDANTS

13          13.     Plaintiff is informed and believes and thereon alleges that Defendants were authorized

14   to and doing business in Riverside County and is and/or was the legal employer of Plaintiff and the

15   other Class Members during the applicable statutory periods. Plaintiff and the other Class Members

16   were, and are, subject to Defendants' policies and/or practices complained of herein and have been

17   deprived of the rights guaranteed to them by: California Labor Code sections 201, 202, 203, 204, 210,

18   226, 226.3, 226.7, 256, 510, 512, 1174, 1185, 1194, 1194.2, 1197, 1197.1, 1198, 1198.5, 1199, 2802,

19   2804, and others that may be applicable; California Business and Professions Code sections 17200

20   through 17210 ("UCL"); and the Applicable Wage Orders (Cal. Code of Regs., tit. 8, §§ 11010, 11070,

21   11170).

22          14.     Plaintiff is informed and believes, and based thereon alleges, that during the Class

23   Period, Defendants did (and continue to do) business in the State of California, County of Riverside.

24          15.     Plaintiff does not know the true names or capacities, whether individual, partner, or

25   corporate, of the defendants sued herein as Does 1 to 50, inclusive, and for that reason, said defendants

26   are sued under such fictitious names, and Plaintiff will seek leave from this Court to amend this

27   complaint when such true names and capacities are discovered. Plaintiff is informed, and believes, and

28   thereon alleges, that each of said fictitious defendants, whether individual, partners, or corporate, were

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 1   responsible in some manner for the acts and omissions alleged herein, and proximately caused Plaintiff

 2   and the other Class Members to be subject to the unlawful employment practices, wrongs, injuries, and

 3   damages complained of herein.

 4          16.     Plaintiff is informed, and believes, and thereon alleges, that at all times mentioned

 5   herein, Defendants were and/or are the employers of Plaintiff and the other Class Members. At all

 6   times herein mentioned, each of said Defendants participated in the doing of the acts hereinafter alleged

 7   to have been done by the named Defendants. Furthermore, the Defendants, and each of them, were the

 8   agents, servants, and employees of each and every one of the other Defendants, as well as the agents

 9   of all Defendants, and at all times herein mentioned were acting within the course and scope of said

10   agency and employment. Defendants, and each of them, approved of, condoned, or otherwise ratified

11   every one of the acts or omissions complained of herein.

12          17.     At all relevant times, Defendants, and each of them, were members of and engaged in a

13   joint venture, partnership, and common enterprise, and acting within the course and scope of and in

14   pursuance of said joint venture, partnership, and common enterprise. Further, Plaintiff is informed,

15   and believes, and thereon alleges, that all Defendants were joint employers for all purposes of Plaintiff

16   and the other Class Members.

17   IV.    COMMON FACTS & ALLEGATIONS

18          18.     Plaintiff and the other Class Members (collectively, the "Class Members") are, and were

19   at all relevant times, employed by the Defendants within the State of California.

20          19.     The Class Members are, and were, at all relevant times, non-exempt employees for the

21   purposes of minimum wages, overtime, rest breaks, meal periods, and the other claims alleged in this

22   complaint.

23          20.     Specifically, Plaintiff was employed by Defendants within the statutory Class Period,

24   working as an hourly, non-exempt order selector for Defendants. Plaintiff's duties included Operating

25   jack pallet, moving, organizing, wrapping, and loading merchandise, unloading merchandise.

26          A.      MINIMUM WAGE VIOLATIONS

27          21.     Labor Code section 1197 requires employees to be paid at least the minimum wage fixed

28   by the IWC, and any payment of less than the minimum wage is unlawful. Similarly, Labor Code

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 1   section 1194 entitles "any employee receiving less than the legal minimum wage . . . to recover in a

 2   civil action the unpaid balance of the full amount of this minimum wage." Likewise, the Applicable

 3   Wage Orders also obligate employers to pay each employee minimum wages for all hours worked.

 4   (Cal. Code of Regs., tit. 8, §§ 11010, 11070, 11170.) Labor Code section 1198 makes unlawful the

 5   employment of an employee under conditions that the IWC Wage Orders prohibit.

 6          22.     These minimum wage standards apply to each hour that employees work. Therefore,

 7   an employer's failure to pay for any particular time worked by an employee is unlawful, even if

 8   averaging an employee's total pay over all hours worked, paid or not, results in an average hourly wage

 9   above minimum wage. (Armenta v. Osmose, Inc. (2005) 135 Cal.App.4th 314, 324.)

10          23.     Here, Defendants failed to fully conform their pay practices to the requirements of the

11   law during the relevant statutory periods. The Class Members were not compensated for all hours

12   worked including, but not limited to, all hours they were subject to the control of Defendants and/or

13   suffered or permitted to work under the California Labor Code and the Applicable Wage Orders.

14   Among other violations, the Class Members were subject to the control of Defendants while off-the-

15   clock and did not receive minimum wage for each hour worked.

16          24.     Labor Code sections 1194, subdivision (a), and 1194.2, subdivision (a), provide that an

17   employer who has failed to pay its employees the legal minimum wage is liable to pay those employees

18   the unpaid balance of the unpaid wages as well as liquidated damages in an amount equal to the wages

19   due and interest thereon.

20          25.     When employees, such as the Class Members, are not paid for all hours worked under

21   Labor Code section 1194, they are entitled to recover minimum wages for the time which they received

22   no compensation. (See Sillah v. Command International Security Services (N.D. Cal. 2015) 154

23   F.Supp.3d 891 [employees suing for failure to pay overtime could recover liquidated damages under

24   Labor Code section 1194.2 if they also showed they were paid less than minimum wage].)

25          26.     Labor Code section 1197.1 authorizes employees who are paid less than the minimum

26   wage fixed by an applicable state or local law, or by an order of the IWC, a civil penalty, among other

27   damages, as follows:

28   ///

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  1                  (1)     "For any initial violation that is intentionally committed, one hundred

  2                          dollars ($100) for each underpaid employee for each pay period for

  3                          which the employee is underpaid."

  4                  (2)    "For each subsequent violation for the same specific offense, two

  5                          hundred fifty dollars ($250) for each underpaid employee for each pay

  6                          period for which the employee is underpaid regardless of whether the

  7                          initial violation is intentionally committed." (Lab. Code, § 1197.1, subd.

 8                           (a).)

  9          27.     As set forth above, Defendants failed to fully compensate the Class Members for all

10    minimum wages. Accordingly, the Class Members are entitled to recover liquidated damages for

11    violations of Labor Code section 1197.1.

12           28.     Based upon these same factual allegations, the Class Members are likewise entitled to

13    penalties under Labor Code sections 1199.

14           B.      OVERTIME VIOLATIONS

15           29.     Labor Code section 510 requires employers to compensate employees who work more

16    than eight hours in one workday, forty hours in a workweek, and for the first eight hours worked on

17    the seventh consecutive day no less than one and one-half times the regular rate of pay for an employee.

18    (Lab. Code, § 510, subd. (a).) Further, Labor Code section 510 obligates employers to compensate

19    employees at no less than twice the regular rate of pay when an employee works more than twelve

20    hours in a day or more than eight hours on the seventh consecutive day of work. (Lab. Code, § 510,

21    subd. (a).) These rules are also reflected in the Applicable Wage Orders.

22           30.     In accordance with Labor Code section 1194 and the Applicable Wage Orders, the Class

23    Members could not then agree and cannot now agree to work for a lesser wage than the amount

24    provided by Labor Code sections 510 or the Applicable Wage Orders.

_25          31.     Here, Defendants violated their duty to accurately and completely compensate the Class

26    Members for all overtime worked. The Class Members periodically worked hours that entitled them

27    to overtime compensation under the law but were not fully compensated for those hours.

28    ///

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 1          32.     These actions were and are in clear violation of California's overtime laws as set forth

 2   in Labor Code sections 510, 1194, 1199, and the Applicable Wage Orders. (Cal. Code of Regs., tit. 8,

 3   §§ 11010, 11070, 11170.) As a result of Defendants' faulty policies and practices, the Class Members

 4   were not compensated for all hours worked or paid accurate overtime compensation.

 5          C.      REST BREAK VIOLATIONS

 6          33.     Pursuant to Labor Code section 226.7 and the Applicable Wage Orders, Defendants

 7   were and are required to provide the Class Members with compensated, duty-free rest periods of not

 8   less than ten minutes for every major fraction of four hours worked. Under the Applicable Wage

 9   Orders, an employer must authorize and permit all employees to take ten-minute duty-free rest periods

10   for every major fraction of four hours worked. (Cal. Code of Regs., tit. 8, §§ 11010, 11070, 11170.)

11          34.     Likewise, Labor Code section 226.7 provides that "[a]n employer shall not require an

12   employee to work during a meal or rest or recovery period mandated pursuant to an applicable statute,

13   or applicable regulation, standard, or order of the Industrial Welfare Commission . . ." (Lab. Code, §

14   226.7, subd. (b).) Labor Code section 226.7 also provides that employers must pay their employees

15   one additional hour of pay at the employee's regular rate for each workday that a "meal or rest or

16   recovery period is not provided." (Lab. Code, § 226.7, subd. (c).) The "regular rate" for these purposes

17   must factor in all nondiscretionary payments for work performed by the employee, including non-

18   discretionary bonuses, commissions, and other forms of wage payments exceeding the employees' base

19   hourly rate. (Ferra v. Loews Hollywood Hotel, LLC (2021) 11 Ca1.5th 858, 878.) Thus, the Wage

20   Orders set when and for how long the rest period must take place and the Labor Code establishes that

21   violations of the IWC Wage Orders are unlawful and sets forth the premium pay employer must pay

22   their employees when employers fail to provide rest periods.

23          35.     The California Supreme Court has held that, during required rest periods, "employers

24   must relieve their employees of all duties and relinquish any control over how employees spend their

25   break time." (Augustus v. ABM Security Services, Inc. (2016) 2 Ca1.5th 257, 260.) Relinquishing

26   control over employees during rest periods requires that employees be "free to leave the employer's

27   premises" and be "permitted to attend to personal business." (Id at p. 275.) The Brinker Court

28   explained in the context of rest breaks that employer liability attaches from adopting an unlawful

                                                      8
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 1   policy:

 2                   "An employer is required to authorize and permit the amount of rest break time

 3                   called for under the wage order for its industry. If it does not—if, for example,

 4                   it adopts a uniform policy authorizing and permitting only one rest break for

 5                   employees working a seven-hour shift when two are required—it has violated

 6                   the wage order and is liable." (Brinker Rest. Corp. v. Superior Court (2012) 53

 7                   Ca1.4th 1004, 1033.)

 8             36.   Here, Defendants periodically did not permit the Class Members to take compliant duty-

 9   free rest breaks, free from Defendants' control as required by Labor Code section 226.7, the Applicable

10   Wage Orders, and applicable precedent. (See Augustus v. ABMSecurity Services, Inc. (2016) 2 Ca1.5th

11   257, 269 [concluding that "during rest periods employers must relieve employees of all duties and

12   relinquish control over how employees spend their time."].) At all relevant times, the Class Members

13   were periodically not provided with legally-compliant and timely rest periods of at least ten minutes

14   for each four hour work period, or major fraction thereof due to Defendants' unlawful rest period

15   policies/practices. The Class Members were often expected and required to continue working through

16   rest periods to meet the expectations Defendants and finish the workday. In some cases when the Class

17   Members worked more than ten hours in a shift, Defendants failed to authorize and/or permit a third

18   mandated rest period. As a result, the Class Members were periodically unable to take compliant rest

19   periods.

20             37.   In such cases where Defendants did not offer the Class Members the opportunity to

21   receive a compliant off-duty rest period, "the court may not conclude employees voluntarily chose to

22   skip those breaks." (Alberts v. Aurora Behavioral Health Care (2015) 241 Cal.App.4th 388, 410

23   (2015) ["If an employer fails to provide legally compliant meal or rest breaks, the court may not

24   conclude employees voluntarily chose to skip those breaks."]; Brinker Rest. Corp. v. Superior Court,

25   supra, 53 Ca1.4th at p. 1033 ["No issue of waiver ever arises for a rest break that was required by law

26   but never authorized; if a break is not authorized, an employee has no opportunity to decline to take

27   it."].)

28   ///

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 1             38.   In addition to failing to authorize and permit compliant rest periods, the Class Members

 2   were not compensated with one hour's worth of pay at their regular rate of compensation when they

 3   were not provided with a compliant rest period in accordance with Labor Code section 226.7,

 4   subdivision (c). Thus, Defendants have violated Labor Code section 226.7 and the Applicable Wage

 5   Orders.

 6          39.      Based on the foregoing, Plaintiff seeks to recover, on behalf of himself and other non-

 7   exempt employees, rest period premiums and penalties.

 8          D.       MEAL BREAK VIOLATIONS

 9          40.      Labor Code section 512 and the Applicable Wage Orders require employers to provide

10   employees with a thirty-minute uninterrupted and duty-free meal period within the first five hours of

11   work. (Lab. Code, § 512, subd. (a) ["An employer shall not employ an employee for a work period of

12   more than five hours per day without providing the employee with a meal period of not less than 30

13   minutes . . ."]; Cal. Code of Regs., tit. 8, §§ 11010, 11070, 11170 ["No employer shall employ any

14   person for a work period of more than five (5) hours without a meal period of not less than 30

15   minutes . . . ."].) Additionally, an employee who works more than ten hours per day is entitled to

16   receive a second thirty-minute uninterrupted and duty-free meal period. (Lab. Code, § 512, subd. (a)

17   ["An employer shall not employ an employee for a work period of more than 10 hours per day without

18   providing the employee with a second meal period of not less than 30 minutes . . . ."].)

19          41.      "An on-duty meal period is permitted only when the nature of the work prevents an

20   employee from being relieved of all duty and the parties agree in writing to an on-duty paid meal

21   break." (Lubin v. The Wackenhut Corp. (2016) 5 Cal.App.5th 926, 932.) The written agreement must

22   include a provision allowing the employee to revoke it at any time. (Ibid.) Generally, the California

23   Department of Industrial Relations, Division of Labor Standards Enforcement ("DLSE") and courts

24   have "found that the nature of the work exception applies: (1) where the work has some particular

25   external force that requires the employee to be on duty at all times, and (2) where the employee is the

26   sole employee of a particular employer." (Id. at p. 945, internal quotation marks omitted; Abdullah v.

27   U.S. Security Associates, Inc. (9th Cir. 2013) 731 F.3d 952, 958-959.) "[I]t is the employer's obligation

28   to determine whether the nature of the work prevents an employee from being relieved before requiring

                                                     10
                                           CLASS ACTION COMPLAINT
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 1   an employee to take an on-duty meal period." (Lubin v. The Wackenhut Corp., supra, 5 Cal.App.5th

 2   at p. 946.)

 3           42.    Here, the Class Members were never asked to sign any enforceable document agreeing

 4   to an on-duty meal period. Moreover, nothing in the nature of their work involved the kind of "external

 5   force" that might justify on-duty meal breaks. (Lubin v. The Wackenhut Corp., supra, 5 Cal.App.5th

 6   at p. 945.) Nevertheless, Defendants periodically did not provide compliant off-duty meal periods

 7   within the first five hours of work for the Class Members.

 8           43.    As with rest breaks, meal breaks must be duty-free. (Brinker Restaurant Corp. v.

 9   Superior Court (2012) 53 Cal.4th 1004, 1035 ["The IWC' s wage orders have long made a meal period's

10   duty-free nature its defining characteristic."].) Relinquishing control over employees during meal

11   periods requires that employees be "free to leave the employer's premises" and be "permitted to attend

12   to personal business." (Augustus v. ABM Security Services, Inc., supra, 2 Cal.5th at p. 275.) Under

13   Labor Code section 512, if an employer maintains a uniform policy that does not authorize and permit

14   the amount of mealtime called for under the law (as specified in the Labor Code and/or applicable IWC

15   Wage Order), "it has violated the wage order and is liable." (Brinker Restaurant Corp. v. Superior

16   Court, supra, 53 Ca1.4th at p. 1033.)

17          44.     During the applicable statutory periods here, the Class Members were periodically

18   denied legally-compliant and timely off-duty meal periods of at least thirty minutes due to Defendants'

19   unlawful meal period policy and practices. As a result of Defendants' uniform meal period policies

20   and practices, the Class Members were often not permitted to take compliant first meal periods before

21   the end of the fifth hour of work. The Class Members were also periodically not permitted to take

22   second meal periods for shifts in excess of ten hours. Defendants thus violated Labor Code section

23   512 and the Applicable Wage Orders by failing to advise, authorize, or permit the Class Members to

24   receive thirty-minute, off-duty meal periods within the first five hours of their shifts.

25          45.     Labor Code section 226.7 provides that "[a]n employer shall not require an employee

26   to work during a meal or rest or recovery period mandated pursuant to an applicable statute, or

27   applicable regulation, standard, or order of the Industrial Welfare Commission." (Lab. Code, § 226.7,

28   subd. (b).) Labor Code section 226.7, subdivision (c), and the Applicable Wage Orders further obligate

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 1   employers to pay employees one additional hour of pay at the employee's regular rate of compensation

 2   for each workday that the meal period is not provided. (Lab. Code, § 226.7, subd. (c); Cal. Code of

 3   Regs., tit. 8, §§ 11010, 11070, 11170 ["If an employer fails to provide an employee a meal period in

 4   accordance with the applicable provisions of this order, the employer shall pay the employee one (1)

 5   hour of pay at the employee's regular rate of compensation for each workday that the meal period is

 6   not provided."].) The "regular rate" for these purposes must factor in all nondiscretionary payments

 7   for work performed by the employee, including non-discretionary bonuses, commissions, and other

 8   forms of wage payments exceeding the employees' base hourly rate. (Ferra v. Loews Hollywood Hotel,

 9   LLC (2021) 11 Ca1.5th 858, 878.)

10             46.   Accordingly, for each day that the Class Members did not receive compliant meal

11   periods, they were and are entitled to receive meal period premiums pursuant to Labor Code section

12   226.7 and the Applicable Wage Orders. Defendants, however, failed to pay the Class Members

13   applicable meal period premiums for many workdays that the employees did not receive a compliant

14   meal period. Thus, Defendants have violated Labor Code section 226.7 and the Applicable Wage

15   Orders.

16             47.   Based on the foregoing, Plaintiff seeks to recover, on behalf of himself and other non-

17   exempt employees, meal period premiums and penalties.

18             E.    UNTIMELY WAGES DURING EMPLOYMENT

19             48.   Labor Code section 204 expressly requires employers who pay employees on a weekly,

20   biweekly, or semimonthly basis to pay all wages "not more than seven calendar days following the

21   close of the payroll period." Labor Code section 210, subdivision (a), makes employers who violate

22   Labor Code section 204 subject to a penalty of:

23                   "(1)   For any initial violation, one hundred dollars ($100) for each failure to

24                          pay each employee.

25                   "(2)   For each subsequent violation, or any willful or intentional violation, two

26                          hundred dollars ($200) for each failure to pay each employee, plus 25

27                          percent of the amount unlawfully withheld." (Lab. Code, § 210, subd.

28                          (a).)

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 1           49.     Notably, the penalty provided by Labor Code section 210 is "[i]n addition to, and

 2   entirely independent and apart from, any other penalty provided in this article . . . ." (Lab. Code, § 210,

 3   subd. (a).)

 4           50.     Due to Defendants' failure to pay the Class Members the wages described above, along

 5   with rest and meal break premiums, Defendants failed to timely pay the Class Members within seven

 6   calendar days following the close of payroll in accordance with Labor Code section 204 on a regular

 7   and consistent basis. (See Parson v. Golden State FC, LLC (N.D. Cal., May 2, 2016, No. 16-CV-

 8   00405-JST) 2016 WL 1734010, at p. *3-5, 2016 U.S. Dist. LEXIS 58299 [finding that a failure to pay

 9   rest period premiums can support claims under Labor Code sections 203 and 204].)

10           F.      UNTIMELY WAGES AT SEPARATION

11           51.     Labor Code section 203 provides "if an employer willfully fails to pay . . . any wages

12   of an employee who is discharged or who quits, the wages of the employee shall continue as a penalty"

13   for up to thirty days. (Lab. Code § 203; Mamika v. Barca (1998) 68 Cal.App.4th 487, 492.) As a result

14   of Defendants' failure to pay the Class Members for the wages described above, along with rest and

15   meal break premiums, Defendants violated and continue to violate Labor Code section 203.

16           52.     Due to Defendants' faulty pay policies, those Class Members whose employment with

17   Defendants concluded were not compensated for each and every hour worked at the appropriate rate.

18   Defendants have failed to pay formerly-employed Class Members whose sums were certain at the time

19   of termination within at least seventy-two hours of their resignation and have failed to pay those sums

20   for thirty days thereafter.

21           G.      FAILURE TO REIMBURSE BUSINESS EXPENSES

22           53.     At all relevant times herein, Defendants were subject to Labor Code section 2802, which

23   states that "an employer shall indemnify his or her employees for all necessary expenditures or losses

24   incurred by the employee in direct consequence of the discharge of his or her duties, or of his or her

25   obedience to the directions of the employer." The purpOse of this section is to "prevent employers

26   from passing along their operating expenses onto their employees." (Gattuso v. Harte-Hanks Shoppers,

27   Inc. (2007) 42 Ca1.4th 554, 562.)

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 1           54.     At all relevant times herein, Defendants were subject to Labor Code section 2804, which

 2   states that "any contract or agreement, express or implied, made by any employee to waive the benefits

 3   of this article or any part thereof, is null and void, and this article shall not deprive any employee or his

 4   personal representative of any right or remedy to which he is entitled under the laws of this State."

 5           55.     Thus, the Class Members were and are entitled to reimbursement for the expenses they

 6   incurred during the course of their duties. The duty to reimburse even extends to the use of equipment

 7   the employee may already own and would be required to pay for anyway. (Cochran v. Schwan's Home

 8   Serv., Inc. (2014) 228 Cal.App.4th 1137, 1144 ["The threshold question in this case is this: Does an

 9   employer always have to reimburse an employee for the reasonable expense of the mandatory use of a

10   personal cell phone, or is the reimbursement obligation limited to the situation in which the employee

11   incurred an extra expense that he or she would not have otherwise incurred absent the job? The answer

12   is that reimbursement is always required. Otherwise, the employer would receive a windfall because it

13   would be passing its operating expenses on to the employee."].)

14           56.    Here, Defendants failed to fully reimburse the Class Members for necessary

15   expenditures incurred as a direct consequence and requirement of performing their job duties, including

16   the costs associated with their personal cell phone they required to perform their work. Consequently,

17   Defendants failed to comply with Labor Code section 2802.

18          H.      WAGE STATEMENT VIOLATIONS

19           57.    Defendants also failed to provide accurate itemized wage statements in accordance with

20   Labor Code sections 226, subdivisions (a)(1), (2), (5), and (9). Labor Code section 226, subdivision

21   (a), obligates employers, semi-monthly or at the time of each payment to furnish an itemized wage

22   statement in writing showing:

23                  (1)     The gross wages earned;

24                  (2)     The total hours worked by the employee;

25                  (3)     The number of piece-rate units earned and any applicable piece rate if

26                          the employee is paid on a piece rate basis;

27                  (4)     All deductions, provided that all deductions made on written orders of

28                          the employee may be aggregated and shown as one item;

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 1                   (5)     The net wages earned;

 2                   (6)     The inclusive dates of the period for which the employee is paid;

 3                   (7)     The name of the employee and only the last four digits of his or her social

 4                           security number or an employee identification number other than a social

 5                          security number;

 6                   (8)     The name and address of the legal entity that is the employer; and

 7                   (9)    All applicable hourly rates in effect during the pay period and the

 8                           corresponding number of hours worked at each hourly rate by the

 9                           employee.

10           58.     Due to Defendants' failure to pay the Class Members properly as described above, the

11   wage statements issued do not indicate the correct amount of gross wages earned, total hours worked,

12   or the net wages earned, or the applicable hourly rates in effect during the pay period and the

13   corresponding number of hours worked at each hourly rate. Thus, Defendants have violated Labor

14   Code section 226, subdivisions (a)(1), (2), (5), and (9).

15           59.     In addition to Labor Code section 226, subdivision (a), Defendants also knowingly and

16   intentionally failed to provide' the Class Members with accurate itemized wage statements in violation

17   of Labor Code section 226, subdivision (e). Defendants knew that they were not providing the Class

18   Members with wage statements required by California law but nevertheless failed to correct their

19   unlawful practices and policies. (See Garnett v. ADTLLC (E.D. Cal. 2015) 139 F.Supp.3d 1121, 1134

20   [finding the defendant knowingly and intentionally violated Labor Code section 226 because the

21   "[d]efendant knew that it was not providing total hours worked to plaintiff or other employees paid on

22   commission" even though it believed that employees paid solely on commission or commission and

23   salary "are exempt and therefore we do not record hours on a wage statement."].)

24          I.      RECORDICEEPING VIOLATIONS

25          60.     Labor Code section 226, subdivision (a), requires employers to keep an accurate record

26   of, among other things, all hours worked by employees. Labor Code section 226.3 provides, in

27   pertinent part, as follows:

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 1                  "Any employer who violates subdivision (a) of Section 226 shall be subject to a

 2                  civil penalty in the amount of two hundred fifty dollars ($250) per employee per

 3                  violation in an initial citation and one thousand dollars ($1,000) per employee

 4                  for each violation in a subsequent citation, for which the employer fails to

 5                  provide the employee a wage deduction statement or fails to keep the records

 6                  required in subdivision (a) of Section 226. The civil penalties provided for in

 7                  this section are in addition to any other penalty provided by law." (Lab. Code,

 8                  § 226.3, emphasis added.)

 9          61.     Likewise, Labor Code section 1174, subdivision (d), requires every employer, including

10   Defendants, to:

11                 "Keep, at a central location in the state or at the plants or establishments at which

12                  employees are employed, payroll records showing the hours worked daily by

13                  and the wages paid to, and the number of piece-rate units earned by and any

14                  applicable piece rate paid to, employees employed at the respective plants or

15                  establishments. These records shall be kept in accordance with rules established

16                  for this purpose by the commission, but in any case, shall be kept on file for not

17                  less than three years. An employer shall not prohibit an employee from

18                  maintaining a personal record of hours worked, or, if paid on a piece-rate basis,

19                 piece-rate units earned." (Lab. Code, § 1174, subd. (d), emphasis added.)

20          62.    As explained in detail above, Defendants failed to provide the Class Members with

21   accurate itemized wage statements. Defendants did so, in part, because they failed to accurately track

22   hours worked by the Class Members. Defendants have thus failed to keep accurate records of the "total

23   hours worked by the employee[s]" in violation of Labor Code section 226, subdivision (a), and are

24   therefore subject to the penalties provided by Labor Code section 226.3. These penalties are "in

25   addition to any other penalty provided by law." (Lab. Code, § 226.3.)

26          63.     The failure to accurately track hours worked also resulted in a failure of Defendants to

27   keep a record of all "payroll records showing the hours worked daily by" Defendants' employees,

28   including Plaintiff and the other Class Members, in violation of Labor Code section 1174, subdivision

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 1   (d).

 2   V.     CLASS ACTION ALLEGATIONS

 3          64.     As mentioned above, Plaintiff brings this action on behalf of himself and the Class

 4   Members pursuant to section 382 of the Code of Civil Procedure.

 5          65.     Numerosity/Ascertainability: The Class Members are so numerous that joinder of all

 6   members would be unfeasible and not practicable. The membership of the class is unknown to Plaintiff

 7   at this time; however, it is estimated that the number of Class Members is greater than 100 individuals.

 8   The identity of such membership is readily ascertainable via inspection of Defendants' employment

 9   records.

10          66.     Common Questions of Law and Fact Predominate/Well Defined Community of

11   Interest: There are common questions of law and fact as to Plaintiff and all other similarly situated

12   non-exempt employees, which predominate over questions affecting only individual members

13   including, without limitation to:

14                  A.      Whether Defendants' pay policies/practices resulted in a failure to pay the Class

15          Members for all hours worked, including all minimum wages;

16                  B.      Whether Defendants' pay policies/practices resulted in a failure to pay the Class

17          Members for all required overtime wages at the Class Members' regular rate of pay;

18                  C.      Whether Defendants' rest period policies and practices afforded legally

19          compliant rest periods or compensation in lieu thereof;

20                  D.      Whether Defendants' meal period policies and practices afforded legally

21          compliant meal periods or compensation in lieu thereof;

22                  E.      Whether Defendants maintained accurate employment records;

23                  F.      Whether Defendants timely paid all wages during employment;

24                  G.      Whether Defendants timely paid all wages earned and unpaid at separation;

25                  H.      Whether Defendants indemnified their employees for all necessary business

26          expenditures;

27                  I.      Whether Defendants furnished legally-compliant wage statements to the Class

28          Members pursuant to Labor Code section 226; and

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 1                  J.      Whether Defendants' violations of the Labor Code and the Applicable Wage

 2          Orders amounted to a violation of California's UCL.

 3          67.     Predominance of Common Questions: Common questions of law and fact

 4   predominate over questions that affect only individual Class Members. The common questions of law

 5   set forth above are numerous and substantial and stem from Defendants' uniform policies and practices

 6   applicable to each individual class member, such as Defendants' uniform policy and practice of failing

 7   to pay for all hours worked, Defendants' uniform policies and practices which failed to provide

 8   compliant rest periods, Defendants' uniform policies and practices which failed to provide compliant

 9   meal periods, Defendants' failure to provide accurate itemized wage statements, and others. As such,

10   the common questions predominate over individual questions concerning each individual class

11   member's showing as to his or her eligibility for recovery or as to the amount of his or her damages.

12          68.     Typicality: The claims of Plaintiff are typical of the claims of the Class Members

13   because Plaintiff was employed by Defendants as a non-exempt employee in California during the

14   statute(s) of limitation applicable to each cause of action pleaded in this complaint. As alleged herein,

15   Plaintiff, like the other Class Members, was deprived of minimum, regular, and overtime wages

16   because of Defendants' unlawful timekeeping policies and practices, was deprived of rest periods and

17   premium wages in lieu thereof, was deprived of meal periods and premium wages in lieu thereof, was

18   subject to Defendants' uniform rest period policies and practices, was subject to Defendants' uniform

19   meal period policies and practices, was not provided accurate itemized wage statements, was not paid

20   all wages in full and on time, and was subject to other similar policies and practices to which the Class

21   Members were subject.

22          69.     Adequacy of Representation: Plaintiff is fully prepared to take all necessary steps to

23   represent fairly and adequately the interests of the Class Members. Moreover, Plaintiff's attorneys are

24   ready, willing, and able to fully and adequately represent the Class Members and Plaintiff. Plaintiff's

25   attorneys have prosecuted numerous wage-and-hour class actions in state and federal court in the past

26   and are committed to vigorously prosecuting this action on behalf of the Class Members.

27          70.     Superiority: The California Labor Code is broadly remedial in nature and serves an

28   important public interest in establishing minimum working conditions and standards in California.

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 1   These laws and labor standards protect the average working employee from exploitation by employers

 2   who have the responsibility to follow the laws and who may seek to take advantage of superior

 3   economic and bargaining power in setting onerous terms and conditions of employment. The nature

 4   of this action and the format of laws available to Plaintiff and the Class Members make the class action

 5   format a particularly efficient and appropriate procedure to redress the violations alleged herein. If

 6   each employee were required to file an individual lawsuit, Defendants would necessarily gain an

 7   unconscionable advantage since they would be able to exploit and overwhelm the limited resources of

 8   each individual plaintiff with their vastly superior financial and legal resources.

 9           71.    Moreover, requiring each Class Member to pursue an individual remedy would also

10   discourage the assertion of lawful claims by employees who would be disinclined to file an action

11   against their former or current employer for real and justifiable fear of retaliation and permanent

12   damages to their careers at subsequent employment. Further, the prosecution of separate actions by

13   the individual Class Members, even if possible, would create a substantial risk of inconsistent or

14   varying verdicts or adjudications with respect to the individual Class Members against Defendants

15   herein, and which would establish potentially incompatible standards of conduct for Defendants or

16   legal determinations with respect to individual Class Members which would, as a practical matter, be

17   dispositive of the interest of the other Class Members not parties to adjudications or which would

18   substantially impair or impede the ability of the Class Members to protect their interests.

19          72.     Further, the claims of the individual Class Members are not sufficiently large to warrant

20   vigorous individual prosecution considering the concomitant costs and expenses attending thereto. As

21   such, the Class Members identified above are maintainable as a class under section 382 of the Code of

22   Civil Procedure.

23   VI.    CAUSES OF ACTION

24                                            First Cause of Action

25                                     Failure to Pay All Minimum Wages

26                                           (Against All Defendants)

27          73.     Plaintiff realleges and incorporates by reference all previous paragraphs.

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 1             74.   Section 4 of the Applicable Wage Orders and Labor Code section 1197 establish the

 2   right of employees to be paid minimum wages for all hours worked, in amounts set by state law. (Lab.

 3   Code, § 1197; Cal. Code of Regs., tit. 8, §§ 11010, 11070, 11170.) Labor Code sections 1194,

 4   subdivision (a), and 1194.2, subdivision (a), provide that an employee who has not been paid the legal

 5   minimum wage as required by Labor Code section 1197 may recover the unpaid balance, together with

 6   attorneys' fees and costs of suit, as well as liquidated damages in an amount equal to the unpaid wages

 7   and interest accrued thereon.

 8             75.   Here, Defendants failed to fully conform their pay practices to the requirements of the

 9   law during the relevant statutory periods. Plaintiff and the other Class Members were not compensated

10   for all hours worked including, but not limited to, all hours they were subject to the control of

11   Defendants and/or suffered or permitted to work under the Labor Code and the Applicable Wage

12   Orders.

13             76.   Labor Code section 1198 makes unlawful the employment of an employee under

14   conditions that the IWC Wage Orders prohibit. Labor Code sections 1194, subdivision (a), and 1194.2,

15   subdivision (a), provide that an employer who has failed to pay its employees the legal minimum wage

16   is liable to pay those employees the unpaid balance of the unpaid wages as well as liquidated damages

17   in an amount equal to the wages due and interest thereon.

18             77.   As a direct and proximate result of Defendants' unlawful conduct as alleged herein,

19   Plaintiff and the other Class Members have sustained economic damages, including but not limited to

20   unpaid wages and lost interest, in an amount to be established at trial, and they are entitled to recover

21   economic and statutory damages and penalties and other appropriate relief because of Defendants'

22   violations of the Labor Code and Applicable Wage Orders.

23             78.   Defendants' practices and policies regarding illegal employee compensation are

24   unlawful and create an entitlement to recovery by Plaintiff and the other Class Members in a civil

25   action for the unpaid amount of minimum wages, liquidated damages, including interest thereon,

26   statutory penalties, attorney' s fees, and costs of suit according to Labor Code sections 204, 218.5,

27   1194, 1194.2, 1197, and 1198, and Code of Civil Procedure section 1021.5.

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 1                                          Second Cause of Action

 2                                     Failure to Pay All Overtime Wages

 3                                          (Against All Defendants)

 4          79.     Plaintiff realleges and incorporates by reference all previous paragraphs.

 5          80.    -This cause of action is brought pursuant to Labor Code sections 204, 510, 1194, and

 6   1198, which provide that non-exempt employees are entitled to overtime wages for all overtime hours

 7   worked and provide a private right of action for the failure to pay all overtime compensation for

 8   overtime work performed. At all times relevant herein, Defendants were required to properly pay

 9   Plaintiff and the other Class Members for all overtime wages earned pursuant to Labor Code section

10   1194 and the Applicable Wage Orders. Defendants caused Plaintiff and the other Class Members to

11   work overtime hours but did not compensate them at one and one-half times their regular rate of pay

12   for such hours in accordance with California law. Likewise, Defendants caused Plaintiff and the other

13   Class Members to work double-time hours but did not compensate them at twice their regular rate of

14   pay for such hours in accordance with California law.

15          81.     Defendants failed to fully conform their pay practices to the requirements of California

16   law. This unlawful conduct includes but is not limited to Defendants' uniform and unlawful pay

17   policies and practices of failing to accurately record all the time that non-exempt employees were under

18   the supervision and control of Defendants. The foregoing policies and practices are unlawful and allow

19   Plaintiff and the other Class Members to recover in a civil action the unpaid amount of overtime

20   premiums owing, including interest thereon, statutory penalties, attorney's fees, and costs of suit

21   according to Labor Code section 204, 510, 1194, and 1198, the Applicable Wage Orders, and Code of

22   Civil Procedure section 1021.5.

23                                          Third Cause of Action

24                  Failure to Provide Rest Periods and Pay Missed Rest Period Premiums

25                                          (Against All Defendants)

26          82.     Plaintiff realleges and incorporates by reference all previous paragraphs.

27          83.     Section 12 of the Applicable Wage Orders, and Labor Code section 226.7 establish the

28   right of employees to be provided with a rest period of at least ten minutes for each four-hour period

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 1   worked, or major fraction thereof. (See Cal. Code of Regs., tit. 8, §§ 11010, 11070, 11170.)

 2            84.   Due to Defendants' unlawful rest period policies and practices described in detail above,

 3   Defendants did not authorize and permit Plaintiff and the other Class Members to take all rest periods

 4   to which they were legally entitled. Despite Defendants' violations, Defendants have not paid an

 5   additional hour of pay to Plaintiff and the other Class Members at their respective regular rates of pay

 6   for each violation, in accordance with California Labor Code section 226.7.

 7            85.   The foregoing violations create an entitlement to recovery by Plaintiff and the other

 8   Class Members in a civil action for the unpaid amount of rest period premiums owing, including interest

 9   thereon, statutory penalties, and costs of suit pursuant to the Applicable Wage Orders, and California

10   Labor Code section 226.7.

11                                          Fourth Cause of Action

12                  Failure to Provide Meal Periods and Pay Missed Meal Period Premiums

13                                          (Against All Defendants)

14            86.   Plaintiff realleges and incorporates by reference all previous paragraphs.

15            87.   Plaintiff is informed and believes and thereon alleges, that Defendants failed in their

16   affirmative obligation to provide their hourly non-exempt employees, including Plaintiff and the other

17   Class Members, with all required meal periods in accordance with the mandates of the Labor Code and

18   the Applicable Wage Orders, for the reasons set forth herein above. Despite Defendants' violations,

19   Defendants have not paid an additional hour of pay to Plaintiff and the other Class Members at their

20   respective regular rates of pay for each violation, in accordance with California Labor Code section

21   226.7.

22            88.   As a result, Defendants are responsible for paying premium compensation for meal

23   period violations, including interest thereon, statutory penalties, and costs of suit pursuant to the

24   Applicable Wage Orders and Labor Code sections 226.7 and 512, and Civil Code sections 3287,

25   subdivision (b), and 3289. (See Cal. Code of Regs., tit. 8, §§ 11010, 11070, 11170.)

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 1                                           Fifth Cause of Action

 2                             Failure to Maintain Accurate Employment Records
 3                                          (Against All Defendants)

 4          89.     Plaintiff realleges and incorporates by reference all previous paragraphs.

 5          90.     Pursuant to California Labor Code section 1174, subdivision (d), an employer shall keep

 6   at a central location in the state or at the plants or establishments at which employees are employed,

 7   payroll records showing the hours worked daily by and wages paid to employees employed at the

 8   respective plants or establishments. These records must be kept in accordance with rules established

 9   for this purpose by the commission, but in any case, shall be kept on file for not less than two years.

10          91.     Labor Code section 1174.5 imposes a civil penalty of $500 for an employer's failure to

11   maintain accurate and complete records.

12          92.     Defendant has intentionally and willfully failed to keep accurate and complete records

13   showing the hours worked daily and wages paid to Plaintiff and the other Class Members. Thus,

14   Plaintiff and the other Class Members have been denied their legal right and protected interest in having

15   available at a central location at the plant or establishment where they are employed, accurate and

16   complete payroll records showing the hours worked daily by, and the wages paid to, employees at those

17   respective locations pursuant to Labor Code 1174.

18                                           Sixth Cause of Action

19                             Failure to Pay Wages Timely during Employment

20                                          (Against All Defendants)

21          93.     Plaintiff realleges and incorporates by reference all previous paragraphs.

22          94.     Labor Code section 200 provides that "wages" include all amounts for labor performed

23   by employees of every description, whether the amount is fixed or ascertained by the standard of time,

24   task, pieces, commission basis, or other method of calculation. Labor Code section 204 states that all

25   wages earned by any person in any employment are payable twice during the calendar month and must

26   be paid not more than seven days following the close of the period when the wages were earned. Labor

27   Code section 210, subdivision (a), makes employers who violate Labor Code section 204 subject to a

28   penalty of $100 for any initial failure to timely pay each employee's full wages and $200 for each

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 1   subsequent violation, plus 25% of the amount unlawfully withheld.

 2          95.     Labor Code section 216 establishes that it is a misdemeanor for any person, with regards

 3   to wages due to "falsely deny the amount or validity thereof, or that the same is due, with intent to

 4   secure himself, his employer or other person, any discount upon such indebtedness, or with intent to

 5   annoy, harass, oppress, hinder, delay, or defraud, the person to whom such indebtedness is due."

 6          96.     Defendants as a matter of established company policy and procedure in the State of

 7   California, scheduled, required, suffered, and/or permitted Plaintiff and the other Class Members, to

 8   work without full compensation, to work without legally-compliant off-duty meal periods, to work

 9   without legally-compliant off-duty rest periods, and thereby failed to fully pay Plaintiff and the other

10   Class Members within seven days of the close of payroll, as required by law.

11          97.     Defendants, as a matter of established company policy and procedure in the State of

12   California, falsely deny they owe Plaintiff and the other Class Members these wages, with the intent of

13   securing for itself a discount upon its indebtedness and/or to annoy, harass, oppress, hinder, delay,

14   and/or defraud Plaintiff and the other Class Members.

15          98.     Defendants' pattern, practice, and uniform administration of its corporate policy of

16   illegally denying employees compensation, as described herein, is unlawful and entitles Plaintiff and

17   the other Class Members to recover, pursuant to Labor Code section 218, the unpaid balance of the

18   compensation owed to them in a civil action and any applicable penalties, attorney fees, and interest

19   owed to them pursuant to Labor Code sections 210 and 218.5.

20                                          Seventh Cause of Action

21                        Failure to Pay All Wages Earned and Unpaid at Separation

22                                          (Against All Defendants)

23          99.     Plaintiff realleges and incorporates by reference all previous paragraphs.

24          100.    The actionable period for this cause of action is three years prior to the filing of this

25   complaint through the present, and ongoing until the violations are corrected, or the class is certified.

26   (Pineda v. Bank ofAmerica, N.A. (2010) 50 Cal.4th 1389, 1395; Murphy v. Kenneth Cole Productions,

27   Inc. (2007) 40 Ca1.4th 1094, 1109; Code Civ. Proc., § 338, subd. (a).) Labor Code sections 201 and

28   202 of the California Labor Code require Defendants to pay all compensation due and owing to its

                                                     24
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 1   former employees (including the formerly-employed Class Members) during the actionable period for

 2   this cause of action at or around the time that their employment is or was terminated, or ended.

 3           101.    Section 203 of the Labor Code provides that if an employer willfully fails to pay

 4   compensation promptly upon discharge or resignation, as required by Sections 201 and 202, then the

 5   employer is liable for penalties in the form of continued compensation up to thirty workdays.

 6           102.    Due to Defendants' faulty pay policies, those Class Members whose employment with

 7   Defendants has concluded were not compensated for each and every hour worked at the appropriate

 8   rate. Defendants have willfully failed to pay those formerly-employed Class Members whose sums

 9   were certain at the time of termination within seventy-two hours of their resignation and have failed to

10   pay those sums for thirty days thereafter as required by Labor Code sections 201 through 203.

11           103.   As a result, Defendants are liable to the formerly-employed Class Members for waiting

12   time penalties amounting to thirty days wages for the formerly-employed Class Members pursuant to

13   Labor Code section 203. (See, e.g., DLSE Manual, § 4.3.4 [failure to pay any sort of wages due upon

14   termination entitles an employee to recover waiting time penalties].)

15                                             Eighth Cause of Action

16                          Failure to Indemn      All Necessary Business Expenditures

17                                             (Against All Defendants)

18          104.     Plaintiff realleges and incorporates by reference all previous paragraphs.

19          105.     California Labor Code Section 2802 states that employers must "indemnify" an

20   employee for "all necessary expenditures or losses incurred by the employee in direct consequence of

21   the discharge of his or her duties, or of his or her obedience to the directions of the employer."

22   Likewise, Labor Code section 2804 states that "any contract or agreement, express or implied, made

23   by any employee to waive the benefits of this article or any part thereof, is null and void, and this article

24   shall not deprive any employee or his personal representative of any right or remedy to which he is

25   entitled under the laws of this State."

26           106.    Here, Plaintiff and the other Class Members paid out of pocket for necessary business

27   expenditures incurred as a direct consequence and requirement of performing their job duties, including

28   the costs associated with their personal cell phone they required to perform their work. Despite

                                                         25
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 1   knowing that Plaintiff and the other Class Members incurred these necessary business expenses and

 2   requiring Plaintiff and the other Class Members to use such items, Defendants did not reimburse them.

 3          107.    Thus, Plaintiff and the other Class Members are entitled to recover the cost of such

 4   necessary business expenses, plus interest from the date each incurred such business expenses, plus

 5   fees and costs. (Lab. Code, § 2802, subds. (b), (c).)

 6                                           Ninth Cause of Action

 7                          Failure to Furnish Accurate Itemized Wage Statements

 8                                          (Against All Defendants)

 9          108.    Plaintiff realleges and incorporates by reference all previous paragraphs.

10          109.    Labor Code section 226, subdivision (a), obligates employers, semi-monthly or at the

11   time of each payment to furnish an itemized wage statement in writing showing:

12                  (1)    The gross wages earned;

13                  (2)    The total hours worked by the employee;

14                  (3)    The number of piece-rate units earned and any applicable piece rate if

15                         the employee is paid on a piece rate basis;

16                  (4)    All deductions, provided that all deductions made on written orders of

17                         the employee may be aggregated and shown as one item;

18                  (5)    The net wages earned;

19                  (6)    The inclusive dates of the period for which the employee is paid;

20                  (7)    The name of the employee and only the last four digits of his or her social

21                         security number or an employee identification number other than a social

22                         security number;

23                  (8)    The name and address of the legal entity that is the employer; and

24                  (9)    All applicable hourly rates in effect during the pay period and the

25                         corresponding number of hours worked at each hourly rate by the

26                         employee.

27          110.    As set forth above, Defendants issued and continues to issue wage statements to its non-

28   exempt employees including Plaintiff and the other Class Members that are inadequate under Labor

                                                     26
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 1   Code section 226, subdivision (a). By failing to pay Plaintiff and the other Class Members properly as

 2   described above, Defendants failed to include required information on their wage statements, including,

 3   but not limited to, the gross wages earned, the net wages earned in violation of Labor Code section

 4   226, subdivision (a).

 5          111.    Defendants' failure to comply with Labor Code section 226, subdivision (a), of the

 6   Labor Code was knowing and intentional. (Lab. Code, § 226, subd. (e)).

 7          112.    As a result of Defendants' issuance of inaccurate itemized wage statements to Plaintiff

 8   and the other Class Members in violation of Labor Code section 226, subdivision (a), Plaintiff and the

 9   other Class Members are each entitled to recover an initial penalty of $50, and subsequent penalties of

10   $100, up to an amount not exceeding an aggregate penalty of $4,000 per Plaintiff and per each Class

11   Member from Defendants pursuant to Labor Code section 226, subdivision (e), along with costs and

12   reasonable attorneys' fees.

13                                          Tenth Cause of Action

14                             Violations of California's Unfair Competition Law

15                                          (Against All Defendants)

16          113.    Plaintiff realleges and incorporates by reference all previous paragraphs.

17          114.    Defendants have engaged and continue to engage in unfair and/or unlawful business

18   practices in California in violation of California Business and Professions Code section 17200 through

19   17210, by committing the unlawful acts described above. Defendants' utilization of these unfair and

20   unlawful business practices deprived and continue to deprive Plaintiff and the other Class Members of

21   compensation to which they are legally entitled. These practices constitute unfair and unlawful

22   competition and provide an unfair advantage over Defendants' competitors who have been and/or are

23   currently employing workers and attempting to do so in honest compliance with applicable wage and

24   hour laws.

25          115.    Because Plaintiff is a victim of Defendants' unfair and unlawful conduct alleged herein,

26   Plaintiff for himself and on behalf of the Class Members, seeks full restitution of monies, as necessary

27   and according to proof, to restore any and all monies withheld, acquired and/or converted by

28   Defendants pursuant to Business and Professions Code sections 17203 and 17208.

                                                     27
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 1           116.   The acts complained of herein occurred within the four years prior to the initiation of

 2   this action and are continuing into the present and ongoing.

 3          117.    Plaintiff was compelled to retain the services of counsel to file this Court action to

 4   protect his interests and those of the Class Members, to obtain restitution and injunctive relief on behalf

 5   of Defendants' current non-exempt employees and to enforce important rights affecting the public

 6   interest. Plaintiff has thereby incurred the financial burden of attorneys' fees and costs, which Plaintiff

 7   is entitled to recover under Code of Civil Procedure section 1021.5.

 8   VII.   DEMAND FOR JURY TRIAL

 9          118.    Plaintiff hereby demands trial by jury of Plaintiff's and the Class Members' claims

10   against Defendants.

11   VIM PRAYER FOR RELIEF

12          Plaintiff prays for judgment for himself and for all others on whose behalf this suit is brought

13   against Defendants, as follows:

14          1.      For an order certifying the proposed class;

15          2.      For an order appointing Plaintiff as representative of the class;

16          3.      For an order appointing Plaintiff's counsel as counsel for the class;

17          4.      For the failure to pay all minimum wages, compensatory, consequential, general, and

18                  special damages according to proof pursuant to Labor Code sections 1194, 1194.2,

19                  1197, and others as may be applicable;

20          5.      For the failure to pay all overtime wages, compensatory, consequential, general, and

21                  special damages according to proof pursuant to Labor Code sections 204, 510, 1194,

22                  1198, and others as may be applicable;

23          6.      For the failure to provide rest periods and pay missed rest period premiums,

24                  compensatory, consequential, general, and special damages according to proof pursuant

25                  to Labor Code section 226.7;

26          7.      For the failure to provide meal periods and pay missed meal period premiums,

27                  compensatory, consequential, general, and special damages according to proof pursuant

28                  to Labor Code sections 226.7 and 512;

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 1       8.    For the failure to maintain accurate employment records, penalties pursuant to Labor

 2             Code sections 226.3, 1174.5, and others that may be applicable;

 3       9.    For the failure to pay wages timely during employment, the unpaid balance of the

 4             compensation owed to Plaintiff and the other Class Members and any applicable

 5             penalties owed to them pursuant to Labor Code section 210;

 6       10.   For the failure to pay all wages earned and unpaid at separation, statutory waiting time

 7             penalties pursuant to Labor Code sections 201 through 203, for the Class Members who

 8             quit or were fired in an amount equal to their daily wage multiplied by thirty days, as

 9             may be proven;

10       11.   For the failure to indemnify all necessary business expenditures, all unreimbursed

11             business expenses, and interest thereon, that are owed, pursuant to Labor Code section

12             2802, and attorney fees, pursuant to Labor Code section 2802, subdivision (c);

13       12.   For the violations of California's Unfair Competition Law, restitution to Plaintiff and

14             the other Class Members of all money and/or property unlawfully acquired by

15             Defendants by means of any acts or practices declared by this Court to be in violation

16             of Business and Professions Code sections 17200 through 17210;

17       13.   Prejudgment interest on all due and unpaid wages pursuant to Labor Code section 218.6

18             and Civil Code sections 3287 and 3289;

19       14.   On all causes of action for which attorneys' fees may be available, for attorneys' fees

20             and costs as provided by Labor Code sections 218.5, 226, Code of Civil Procedure

21             section 1021.5, and others as may be applicable;

22       15.   For an order enjoining Defendants, and each of them, and their agents, servants, and

23             employees, and all persons acting under, in concert with, or for them, from acting in

24             derogation of any rights or duties adumbrated in this complaint; and

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                                     CLASS ACTION COMPLAINT
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 1         16.    For such other and further relief, this Court may deem just and proper.

 2
     Dated: May 4, 2022                               MELMED LAW GROUP P.C.
 3                                                    BOKHOJJR LAW GROUP, P.C.

 4

 5                                                    JONATHAN MELMED
                                                      MEHRDAD BOKHOUR
 6                                                    Attorneys for Plaintiff and the Putative Class
 7

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                                                                                                       RI-ADR001-INFO



                                      SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                         www.riverside.courts.ca.gov
                                 Self-represented parties: https://www.riverside.courts.ca.gov/SelfHelp/self-help.php

                                      ALTERNATIVE DISPUTE RESOLUTION (ADR) -
                                             INFORMATION PACKAGE


                           *** THE PLAINTIFF MUST SERVE THIS INFORMATION PACKAGE
                                     ON EACH PARTY WITH THE COMPLAINT.***
             What is ADR?
             Alternative Dispute Resolution (ADR) is a way of solving legal disputes without going to trial.
             The main types are mediation, arbitration, and settlement conferences.
             Advantages of ADR:
              • Faster: ADR can be done in a 1-day session within months after filing the complaint.
              • Less expensive: Parties can save court costs and attorneys' and witness fees.
                 More control: Parties choose their ADR process and provider.
                 Less stressful: ADR is done informally in private offices, not public courtrooms.
            Disadvantages of ADR:
                  No public trial: Parties do not get a decision by a judge or jury.
                  Costs: Parties may have to pay for both ADR and litigation.
            Main Tvoes of ADR:
            Mediation: In mediation, the mediator listens to each person's concerns, helps them
              evaluate the strengths and weaknesses of their case, and works with them to create a
              settlement agreement that is acceptable to everyone. If the parties do not wish to settle
              the case, they go to trial.
            Mediation may be appropriate when the parties:
                   want to work out a solution but need help from a neutral person; or
                   have communication problems or strong emotions that interfere with resolution; or
                   have a continuing business or personal relationship.
            Mediation is not appropriate when the parties:
             .ct   want their public "day in court" or a judicial determination on points of law or fact;
                   lack equal bargaining power or have a history of physical/emotional abuse.
            Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and
               arguments to the person who decides the outcome. In "binding" arbitration the arbitrator's
               decision is final; there is no right to trial. In "non-binding" arbitration, any party can request
               a trial after the arbitrator's decision. The court's mandatory Judicial Arbitration program is
               non-binding.




                                                                                                                   Page 1 of 2

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    Arbitration may be appropriate when the parties:
     g      want to avoid trial, but still want a neutral person to decide the outcome of the case.
    Arbitration is not appropriate when the parties:
     A      do not want to risk going through both arbitration and trial (Judicial Arbitration)
            do not want to give up their right to trial (binding arbitration)
    Seftlement Conferences: Settlement conferences are similar to mediation, but the settlement officer
       usually tries to negotiate an agreement by giving strong opinions about the strengths and weaknesses
       of the case, its monetary value, and the probable outcome at trial. Settlement conferences often
       involve attorneys more than the parties and often take place close to the trial date.
                                  RIVERSIDE COUNTY SUPERIOR COURT ADR REQUIREMENTS
                                        ADR Information and forms are posted on the ADR website:
                                       https://www.riverside.courts.ca.gov/Divisions/ADR/ADR.php

  General Policy
    Parties in most general civil cases are expected to participate in an ADR process before requesting a
    trial date and to participate in a settlement conference before trial. (Local
    Rule 3200)
 Court-Ordered ADR:
   Certain cases valued at under $50,000 may be ordered to judicial arbitration or mediation. This order is
   usually made at the Case Management Conference. See the "Court-Ordered
   Mediation Information Sheet" on the ADR website for more information.
 Private ADR (for cases not ordered to arbitration or mediation):
    Parties schedule and pay for their ADR process without Court involvement. Parties may schedule
    private ADR at any time; there is no need to wait until the Case Management Conference. See the
    "Private Mediation Information Sheet" on the ADR website for more information.
 BEFORE THE CASE MANAGEMENT CONFERENCE (CMC), ALL PARTIES MUST:
  1. Discuss ADR with all parties at least 30 days before the CMC. Discuss:
          Your preferences for mediation or arbitration.
          Your schedule for discovery (getting the information you need) to make good decisions about
          settling the case at mediation or presenting your case at an arbitration.
  2. File the attached "Stipulation for ADR" along with the Case Management Statement, if all parties can
     agree.
  3. Be prepared to tell the judge your preference for mediation or arbitration and the date when you
     could complete it.
                                              (Local Rule 3218)
 RIVERSIDE COUNTY ADR PROVIDERS INCLUDE:
     The Court's Civil Mediation Panel (available for both Court-Ordered Mediation and Private Mediation).
     See https://adr.riverside.courts.ca.gov/Home/CivilMedPanel or ask for the list in the civil clerk's office,
     attorney window.
     Riverside County ADR providers funded by DRPA (Dispute Resolution Program Act):
     Dispute Resolution Service (DRS) Riverside County Bar Association: (951) 682-1015
     Dispute Resolution Center, Community Action Partnership (CAP): (951) 955-4900
     Chapman University School of Law Mediation Clinic (services only available at the court)



                                                                                                       Page 2 of 2
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                                     SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
❑     BLYTHE 265 N. Broadway, Blythe, CA 92225                                ❑ MURRIETA 30755-D Auld Rd., Murrieta, CA 92563
❑     CORONA 4/ 4 R- At dm Uhrd +CA - 1/ 0+Bnqini +B@81771                    ❑ PALM SPRINGS 3255 Tahquitz Canyon Way, Palm Springs, CA 92262
❑     MORENO VALLEY 13800 Heacock St. #D201, Moreno Valley,                   ❑ RIVERSIDE 4050 Main St., Riverside, CA 92501
                                                        CA 92553                                                                                     R ADR001




                                                                                                                                                        I
                                                                                                                                                            -
                                                                                                                     FORWUHI USt ONLY
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar Number and Address)




           TELEPHONE NO:                                FAX NO. (Optional):

E-MAIL ADDRESS (Optional):

    ATTORNEY FOR (Name):



       PLAINTIFF/PETITIONER:

                                                                                                          CASE NUMBER:


  DEFENDANT/RESPONDENT:
                                                                                                          CASE MANAGEMENT CONFERENCE DATE(S):



                                 STIPULATION FOR ALTERNATIVE DISPUTE RESOLUTION (ADR)
                                           (CRC 3.2221; Local Rule, Title 3, Division 2)

     Court-Ordered ADR:
     Eligibility for Court-Ordered Mediation or Judicial Arbitration will be determined at the Case Management
     Conference. If eligible, the parties agree to participate in:
       ❑ Mediation                       ❑ Judicial Arbitration (non-binding)

     Private ADR:
     If the case is not eligible for Court-Ordered Mediation or Judicial Arbitration, the parties agree to participate in the
     following ADR process, which they will arrange and pay for without court involvement:
       ❑ Mediation                   ❑ Judicial Arbitration (non-binding)
       ❑ Binding Arbitration             ❑ Other (describe):

     Proposed date to complete ADR:

    SUBMIT THIS FORM ALONG WITH THE CASE MANAGEMENT STATEMENT.


              (PRINT NAME OF PARTY OR ATTORNEY)                                (SIGNATURE OF PARTY OR ATTORNEY)                         (DATE)
              ❑     Plaintiff    ❑  Defendant




              (PRINT NAME OF PARTY OR ATTORNEY)                                (SIGNATURE OF PARTY OR ATTORNEY)                         (DATE)
              ❑     Plaintiff   ❑   Defendant




              (PRINT NAME OF PARTY OR ATTORNEY)                                (SIGNATURE OF PARTY OR ATTORNEY)                         (DATE)
              ❑     Plaintiff    ❑  Defendant




              (PRINT NAME OF PARTY OR ATTORNEY)                                (SIGNATURE OF PARTY OR ATTORNEY)                         (DATE)
              ❑     Plaintiff   ❑   Defendant



                                                                                                                                                      Page 1 of 1
Adopted for Mandatory Use                                                                                                                            Statutory Authority
Riverside Superior Court
                                             ALTERNATIVE DISPUTE RESOLUTION                                          riverside.00urts.ca.gov/localfrrns/Iocatfrms.shtrnI
Form RI-ADR001 [Rev. 01/01/12]                     (ADR) STIPULATION
[Reformatted 06/01/16]
        Case 5:22-cv-00945-JGB-KK Document 1 Filed 06/06/22 Page 68 of 73 Page ID #:68
                              Electronically FILED by Superior Court of California, County of Riverside on 05/04/2022 03:59 PM
              Case Number CVRI2201797 0000020329762 - W. Samuel Hamrick Jr., Executive Officer/Clerk of the Court By Stephanie Anderson, Clerk

                                              SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE

❑      BANNING 311 E. Ramsey St., Banning, CA 92220                       ❑    MURRIETA 30755-D Auld Rd., Suite 1226, Murrieta, CA 92563
❑      BLYTHE 265 N. Broadway, Blythe, CA 92225                           ❑    PALM SPRINGS 3255 E. Tahquitz Canyon Way, Palm Springs, CA 92262
❑      CORONA 505 S. Buena Vista, Rm. 201, Corona, CA 92882               EJ   RIVERSIDE 4050 Main St., Riverside, CA 92501
El     MORENO VALLEY 13800 Heacock St., Ste. D201,
       Moreno Valley, CA 92553
                                                                                                                                                             RI-CI032
ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar Number and Address)                                                      FOR COURT USE ONLY
MELMED LAW GROUP P.C.
Jonathan Melmed (SBN 290218); Laura Supanich (SBN 314805)
1801 Century Park East, Suite 850, Los Angeles, CA 90067
              TELEPHONE NO:   (310) 824-3828           FAX NO. (Optiona0:(310) 862-6851
     E-MAIL ADDRESS (Optional): im@mel  medlaw.corn; Ims@melmedlaw.com
       ATTORNEY FOR (Name):   Plaintiff Samual Ryciak
             PLAINTIFF/PETITIONER:       Samual Ryciak


       DEFENDANT/RESPONDENT:             The American Bottling Company, et al.                              CASE NUMBER:
                                                                                                                  Nre         I   22 CI 1 7 9 7
                                                                  CERTIFICATE OF COUNSEL

The undersigned certifies that this matter should be tried or heard in the court identified above for the reasons
specified below:

     El       The action arose in the zip code of:                             92507



     ❑        The action concerns real property located in the zip code of:


     ❑        The Defendant resides in the zip code of:




For more information on where actions should be filed in the Riverside County Superior Courts, please refer
to Local Rule 3115 at www.riverside.courts.ca.gov.


I certify (or declare) under penalty of perjury under the laws of the State of California that the foregoing is
true and correct.



                               May 04, 2022
     Date




                    Jonathan Melmed                                             PO"
        (TYPE OR PRINT NAME OF 0 ATTORNEY 0 PARTY MAKING DECLARATION)                                          (SIGNATURE)

                                                                                                                                                            Page 1 of 1
Approved for Mandatory Use                                                                                                                                  Local Rule 3117
Riverside Superior Court                                            CERTIFICATE OF COUNSEL                                   dversIde.courts.ca.govflocatfrms/localfrms.shtml
RI-CI032 [Rev. 07/15/21]
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                      SUPERIOR COURT OF CALIFORNIA, COUNTY OF RIVERSIDE
                                                           Historic Court House
                                                   4050 Main Street, Riverside, CA 92501

  Case Number:                CVRI2201797

  Case Name:                 RYCIAK vs THE AMERICAN BOTTLING COMPANY



                                               NOTICE OF DEPARTMENT ASSIGNMENT

       The above entitled case is assigned to the Honorable Craig Riemer in Department 1 for All Purposes.

      Any disqualification pursuant to CCP section 170.6 shall be filed in accordance with that section.

      The court follows California Rules of Court, Rule 3.1308(a)(1) for tentative rulings (see Riverside Superior Court
      Local Rule 3316). Tentative Rulings for each law and motion matter are posted on the internet by 3:00 p.m. on the
      court day immediately before the hearing at http://riverside.courts.ca.gov/tentativerulings.shtml. If you do not have
      internet access, you may obtain the tentative ruling by telephone at (760) 904-5722.         •

      To request oral argument, you must (1) notify the judicial secretary at (760) 904-5722 and (2) inform all other
      parties, no later than 4:30 p.m. the court day before the hearing. If no request for oral argument is made by
      4:30 p.m., the tentative ruling will become the final ruling on the matter effective the date of the hearing.

      The filing party shall serve a copy of this notice on all parties.


                  ...... Interpreter services are available upon request. If you need an interpreter, please complete and submit the online
      1)))a '         Interpreter Request Form (https://riverside.courts.ca.gov/Divisions/InterpreterInfo/ri-in007.pdf) or contact the clerk's
         '•*;•        office and verbally request an interpreter. All requests must be made in advance with as much notice as possible,
                      and prior to the hearing date in order to secure an interpreter.
                      Assistive listening systems, computer-assisted real time captioning, or sign language interpreter services are
                      available upon request if at least 5 days notice is provided. Contact the Office of the ADA Coordinator by calling
                      (951) 777-3023 or TDD (951) 777-3769 between 8:00 am and 4:30 pm or by emailing ADA@riverside.courts.ca.gov
                      to request an accommodation. A Request for Accommodations by Persons 144th Disabilities and Order (form MC-
                      410) must be submitted when requesting an accommodation. (Civil Code section 54.8.)


      Dated: 05/05/2022                                                    W. SAMUEL HAMRICK JR.,
                                                                           Court Executive Officer/Clerk of Court



                                                                           by:

                                                                                 S. Anderson, Deputy Clerk
CI-NODACV
(Rev. 02/16/21)
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                       EXHIBIT B
  Case 5:22-cv-00945-JGB-KK Document 1 Filed 06/06/22 Page 71 of 73 Page ID #:71
i is                                                                    CT Corporation
,z_l®Wolters Kluwer                                      Service of Process Notification
                                                                                                                        05/05/2022
                                                                                                           CT Log Number
                                                                                                                  Number 541526519


     Service of Process Transmittal Summary

     TO:       Stephen Cole
               KEURIG DR PEPPER SNAPPLE GROUP
               6425 HALL OF FAME LN
               FRISCO, TX 75034-1954

     RE:       Process Served in California

     FOR:      Keurig Dr Pepper Inc. (Domestic State: DE)


     ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

     TITLE OF ACTION:                         Re: SAM
                                                  SAMUAL
                                                       UAL RYCIAK, an individual, on behalf of himself and all others similarly situated
                                              // To: Keurig Dr Pepper Inc.

     CASE #:                                  CVRI2201797

     NATURE OF ACTION:                        Employee Litigation

     PROCESS SERVED ON:                       C T Corporation System, GLENDALE, CA

     DATE/METHOD OF SERVICE:                  By Process Server on 05/05/2022 at 01:42

     JURISDICTION SERVED:                     California

     ACTION ITEMS:                            CT has retained the current log, Retain Date: 05/05/2022, Expected Purge Date:
                                              05/10/2022

                                              Image SOP

                                              Email Notification, Janet Barrett janet.barrett@kdrp.com

                                              Email Notification, Stephen Cole stephen.cole@kdrp.com

                                              Email Notification, INGA HARRISON inga.harrison@kdrp.com

                                              Email Notification, Lauren Timmons lauren.timmons@kdrp.com

                                              Email Notification, Indira Wanser indira.wanser@kdrp.com


     REGISTERED AGENT CONTACT:                C T Corporation System
                                              330 N BRAND BLVD
                                              STE 700
                                              GLENDALE, CA 91203
                                              866-665-5799
                                              SouthTeam2@wolterskluwer.com




     The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion,
     and should not otherwise be relied on, as to the nature of action, the amount of damages, the answer date, or any other
     information contained in the included documents. The recipient(s) of this form is responsible for reviewing and interpreting the
     included documents and taking appropriate action, including consulting with its legal and other advisors as necessary. CT
     disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be
     contained therein.




                                                                                                                              Page 1 of 1
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                                                              c,s. Wolters Kluwer

                       PROCESS SERVER DELIVERY DETAILS



Date:                                      Thu, May 5, 2022
Server Name:                               Douglas Forrest




 Entity Served            KEURIG DR PEPPER INC.

 Case Number              Cvri to 201797

 Jurisdiction             CA



                                              Inserts




                    iii iii HIIiii
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 1                                   CERTIFICATE OF SERVICE
 2    STATE OF CALIFORNIA                          )
                                                   ) SS
 3    COUNTY OF LOS ANGELES                        )
 4           I am a resident of the State of California, over the age of eighteen years, and not a
      party to the within action. My business address is 2029 Century Park East, Suite 3500,
 5    Los Angeles, California 90067-3021. On June 6, 2022, I served the within document(s):
 6             DEFENDANTS’ NOTICE OF REMOVAL OF CIVIL ACTION TO THE
               UNITED STATES DISTRICT COURT
 7
              by placing the document(s) listed above in a sealed envelope with postage thereon
 8     
        fully prepaid, in the United States mail at Los Angeles, California, addressed as set
              forth below. I am readily familiar with the firm's practice of collection and
 9            processing correspondence for mailing. Under that practice it would be deposited
              with the U.S. Postal Service on that same day with postage thereon fully prepaid in
10            the ordinary course of business. I am aware that on motion of the party served,
              service is presumed invalid if postal cancellation date or postage meter date is
11            more than one day after date of deposit for mailing in affidavit.
12            by transmitting the document(s) listed above, electronically, via the e-mail
       
        addresses set forth below.
13
              electronically by using the Court’s ECF/CM System.
14     
15             Jonathan Melmed                        Attorneys for Plaintiff SAMUAL
16             Laura Supanich                         RYCIAK and the Putative Class
               Krikor Kouyoumdjian
17             MELMED LAW GROUP P.C.                  Emails: jm@melmedlaw.com;
18             1801 Century Park East, Suite 850      lms@melmedlaw.com;
               Los Angeles, CA 90067                  krikor@melmedlaw.com
19
20             Mehrdad Bokhour                     Attorney for Plaintiff SAMUAL
               BOKHOUR LAW GROUP, P.C.             RYCIAK and the Putative Class
21             1901 Avenue of the Stars, Suite 450
22             Los Angeles, CA 90067               Email: mehrdad@bokhourlaw.com
23         I declare that I am employed in the office of a member of the bar of this court at
      whose direction the service was made.
24
               Executed on June 6, 2022, at Los Angeles, California.
25
26                                                             /s/ Paulin Kim
                                                               Paulin Kim
27
28

                                                                  CERTIFICATE OF SERVICE
      84176001v.1
